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                                        EXHIBIT A




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                                                                 Bank Card Merchant Agreement/Application

  vanti~                                                                                                                                                                                         9.2015-VNTV MM



              To help the government fight the funding of terrorism and money laundering activities, federal law requires all financial institutions to obtain, verify, and record
              information that identifies each individual or business that opens an account. What this means to you- When you open an account, we will ask for your name,
              address, date of birth, and other information that will allow us to identify you. We will also ask to see your driver's license and/or other identifying documents.
              FEDERAL TAX ID     XX-XXXXXXX                                                                                      I NUMBER OF LOCATIONS 9
              TYPE oF LEGAL ENTITY □ Sole Proprietor □ LLC          Iii Corporation D Financial Institution D Government D Non-Profit
   z
   0
              D Other (provide detail)                                                                                               □ Publicly Traded □ SEC Filing Ticker Symbol:
   ~          D Partnership: Name of Si<mer                                                                                       Execution Date:
   :I!
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              BUSINESS LEGAL NAME (IF ORGANIZED Af3A SOLE PROPRIETORSHIP, MUST BE OWNER'S PERSONAL NAME)- TO AVOID IRS PENALTIES, LEGAL NAME MUST MATCH FEDERAL INCOME TAX RETURN
   u.        PIRCH, INC
  .:!:
   ,_
   z
   c(
   :,:
   0
              DOING BUSINESS AS ("DBA")/DISREGARDED ENTITY/STORE NAME (STORE NAME IS NAME THAT WILL APPEAR ON RECEIPT)
             PIRCH
                                                                                                                                     I    1STORE NUMBER           I MCC/SIC
                                                                                                                                                                   5722
   0::
   w
  :!!
              CORPORATE PHYSICAL ADDRESS (PHYSICAL ADDRESS ONLY-NO PO BOXES)
             9620 Towne Centre Drive, Suite 100
                                                                                                     I YEARS AT ADDRESS 2          CITY
                                                                                                                                  San Diego
                                                                                                                                                                         STATE
                                                                                                                                                                        CA
                                                                                                                                                                                        ZIP
                                                                                                                                                                                       82121
              CORPORATE MAILING ADDRESS (IF DIFFERENT FROM PHYSICAL ADDRESS)                                                       CITY                                  STATE             ZIP
             ABOVE
              BUSINESS PHONE (INCLUDE AREA CODE)
             858-966-3636
                                                            CUSTOMER SERVICE PHONE (INCLUDE AREA CODE)
                                                           858-966-3636                                              IEMAIL ADDRESS
                                                                                                                     AR@pirch.com
              BUSINESS FAX (INCLUDE AREA CODE)
             858-966-3622
                                                            HAS THIS BUSINESS EVER FILED BANKRUPTCY? □ Yes       Date:                               I   ANY PRESENT INTENno FILE BANKRUPTCY? □ Yes    Iii No
   z
   0
   ;::::
                  I
              1 David
                 NAME G. Robson_ . I T L E
                                         CFO                                                         .1/,0WNERSHIP
                                                                                                                            I~                                                DATE OF BIRTH
                                                                                                                                                                           xxxxxxxxxxx
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   :I!        HOMEADDRESS (PHYSICAL ADDRESSONLY-NO PO BOXES)               I:~ :a ■J!lN I ::I.                                              I YRS. AT ADDRESS                 HOMEPHONE
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  .:!:        CITY      -~~:I•                         I                                                             I STATE ■                 IZIP-
                                                                                                                                                                              CELL PHONE
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   ~z
              DRIVER'SLICENSE                                            I     DATE OF ISSUE                                         I     DATE OF EXPIRATION
    w
   "'lli!     2 I NAME                                                I TITLE                        I %OWNERSHIP            I SOCIAL SECURITY NUMBER                         DATE OF BIRTH
   II,.
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  a:
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              HOME ADDRESS (PHYSICAL ADDRESS ONLY-NO PO BOXES)                                                                              I YRS.AT ADDRESS                  HOME PHONE
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              CITY                                                                                                   I   STATE                 I ZIP                          CELLPHONE

  <(          DRIVER'SLICENSE
                                                                         I     DATE OF ISSUE                                         I     DATE OF EXPIRATION

              Current Ownership Established (Date) 0710112007                                              Do you Currently Accept Credit Cards? Iii Yes □ No
              Business Established (Date)                                                                  Who is your Current Processor? ELAVON
              Merchandise/Services Sold                                                                    For Card Not Present Transactions - Merchandise is delivered
             APPLIANCE STORE/ HOME FIXTURES-ATTACHED
                                                                      Iii Physical         □ Electronic          □ Both
              Average number of days from when cardholder is charged & when products
                                                                      Average ticket         $2500
              or services are received IN FULL by cardholder? 90      Hi!lh ticket           $99,999
   z
   0                                                                  Return Policy: D None D 3-Day D 30-Day D 60-Day
              Warranties Provided by Merchant (excluding manufacturer warranties):
   ~          IXI None □ 30-Day □ 60-Day D 90-Day D 1-Year D Lifetime IX! >60 Days □ All Sales Final □ ExchanQe/Store Credit Only
   :I!
   0::
   0
   ...                                                           20                   Business to Business 10               %
  .:!:                                    Card Swiped                % +
   ...I       Chargeback Percentage 0   %                                             Internet Transaction     0            %
   c(                                     Manual with Imprint    0   % +
   z          Return Percentage         %                                             Website (required for Internet sales)
   0
                                    1     Manual with No Imprint 80  % = 100%
   ~
   C
                                                                                       www.Pirch.com
  <(          Visa/MC/Discover volume related to pre-paid Sales?   20                               %                                                                             $8,333,333
                                                                                                         Estimated Total V/MC/discover Monthly Volume
              Percentage Required for Pre-Payment or Down Payment? 20                               %
                                                                                                         Estimated Total American Express Monthly Volume                          $6,666,666
              American Express volume related to pre-paid Sales?   20                               %
              X             By initialing here, I am electing to opt out of receiving American Express Marketing Materials.
              Has this Business, or any of its predecessors or affiliates, ever been fined by Visa® or MasterCard® Discover® or American Express®? D Yes                                   Iii No.
              If Yes, D Visa® □ MasterCard® D Discover® D American Express®

              Iii Merchant proceeds deposited into Member Bank account                   D Not required due to Franchise or Association exception
  !::         D Personal visit by a sales representative                        Date
  >"'w        Was site consistent with Merchant's represented business? D Yes                         0 No
  !::
  U)          D Inspection report completed by other Processor employee and included with supporting documentation
              D Interior and exterior photos of the Merchant's location are attached.



                                                                                                      Page 1 of 2
                                                                                        Bank Card Merchant Agreement/Application
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                                                                          Bank Card Merchant Agreement/Application
                                                                                                                                                                                                                                    9.2015

                   • This 'Bank Card Merchant Agreement and Application' (herein collectively 'Agreement") consists of the following component parts all of which are incorporated by reference herein and
                     constitute the entire agreement between the parties and supersede all prior agreements or representations between the parties whether written or oral with respect to the subject matter
                     herein: (1) the Bank Card Merchant AgreemenVApplication, (2) the Bank Card Merchant Agreement, (3) Merchant Price Schedule and (4) any and all other applicable addenda,
                     schedules, exhibits, attachments, or amendments thereto. Unless otherwise explicilly staled, all capitalized terms that are used but not defined in this paragraph have the meanings
                     specified in the Agreement. Each person signing immediately below this paragraph (each, as 'Signer") certifies that (i) he or she is an officer, owner, principal, or other authorized
                     representative of the Merchant identified on page 1 of the Agreement (the '·Merchant'), ANO (ii) fill of the information contained herein is true, accurate, and complete, AND (iii) he or she
                     has been provided a full and complete copy of this Agreement, AND (iv) that he or she has read, understands, and accepts all of the terms and conditions contained in this paragraph
           C:
           0         and elsewhere within the Bank Card Merchant AgreemenVApplication.
          i
          (,)
                   •No modification, alterations, or manual changes (Including lining out fees, unless otherwise pre-approved and/or pre-designated by Processor) made by Merchant to the Agreement shall
          ..:        have any force or effect unless and until such modifications or alterations are expressly consented to in writing by Processor. This Agreement may be executed in counterparts and a
          t:
          Q)
                     scanned, facsimile, or duplicate copy of this Agreement executed by the parties shall be treated as and/or constitute an original. Each undersigned below warrants and represents that he
          (,)        or she is a duly authorized representative of the legal entity on behalf of which he or she is executing this Agreement. By signing below, Signer(s), on behalf of the Merchant, (i)
          "C         agrees to be bound by all of the provisions of the Agreement, including without limitation, the choice of law, jurisdiction, and venue provisions contained in the Terms and
          C:
          IV         Conditions, and (Ii) acknowledges Merchant Is aware of and must comply with the Ru les Summary, Operating Regu lations and Merchant Operating Requirements.
                  •Signer(s) further individually authorizes Processor or its representative to investigate him, her or Merchant by utilizing a third-party credit reporting agency and conducting an initial and
                    ongoing comprehensive credit inquiry and/or investigation. In the event Merchant is not approved by Processor for the provision of services under the Agreement, Signers), on
                    Merchant's behalf, authorizes Processor to share all information provided herein with Processor's strategic partner for the possible provision of substantially similar services.
          ~       • Signer(s), on behalf of the Merchant, irrevocably authorizes Processor lo initiate Automated Clearing House ("ACH') debit and/or credit entries from and to the Designated Accounts for
          Q)        all fees, costs, and amounts due to Processor or payable to Merchant pursuant to this Agreement and ACH rules and regulations. In the event that a credit or debit entry is erroneously
          C:
          Q)        initiated, Signer(s), on behalf of the Merchant, authorizes Processor immediately to correct such error. This ACH Authorization shall remain in full force and effect until Processor has
          C)
                    collected payment on all fees, costs, and amounts due or which may become due pursuant to this Agreement. The Designated Accounl(s) may not be changed or altered without thirty
                    (30) days prior written notification to Processor and the execution of any forms or instruments deemed reasonably necessary by Processor.
                  •Signer(s) certifies under penalties of perjury that:
                    1, The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be issued to me), and
                    2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue Service (IRS) that I am
                    subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am no longer subject to backup withholding, and
                           a
                    3. I am U.S. citizen or other U.S. person
           □ SUBMITTING BUSINESS FINANCIALS                                      □ PERSONAL GUARANTEE (if checked, attach UPG)
    ;l ~
    0 ~ • Each Signer to the Agreement further individually authorizes Processor or its representative to investigate him, her or Merchant by utilizing a third-party credit reporting agency
    z :E
    ..: Ir
           and conducting an initial and ongoing comprehensive credit inquiry and/or investigation. In lhe event that Merchant is not approved by Processor for the provision of services
    f :!a~ under  the Agreement, each Signer, on Merchant's behalf, authorizes Processor to share all information provided herein with Processor's strategic partner for lhe possible
           provision of substantiallv similar services,
                  D   I elect lo be a Limited Acceptance Merchant, meaning I choose to accept the indicated VISA®/MasterCard® card types below:
                  To be a limited card type acceptance merchant, Merchant must indicate whic h card types are going to be accepted by marking the appropriate box(es):
                             D Visa Credit and Business Cards                                                                                      D Visa Debit Cards
                             D MasterCard Credit and Business Cards                                                                                D MasterCard Debit Cards
          Please see section 37 of the Terms and Conditions for further delail on Limited Acceptance and Merchant responsibilities.
          Unless indicated olheiwise above, Merchant aorees to accept all Visa® and MasterCard® Card Tvoes.
          Merchant acknowledges receipt of the Bank Card Merchant Agreement, the application thereto, the Price Schedule, and any and all other applicable amendments, schedules, exhibits,
          and attachments, including without limitation, the documents listed below. Merchant has read, understands and agrees lo be bound by the Agreement, as may be amended from time to
   ~      time in accordance therewith. if Member Bank and/or Processor agree to provide services to Merchant, submission of any transactions or items lo Member Bank, Processor, or its third
   iii    party providers constitutes consent to the Agreement Terms And Conditions and the terms and conditions related to any other service Merchant has elected to receive. Merchant can
   ~ 1- request a copy of the Agreement at any lime by contacting a Customer Service Representative at (866) 622-2390 or Relationship Manager.
   ~ i:'i • Addendum A - General Services Addendum                                                          • Rules Summary
   ~ iii • Tiered Enhanced Surcharge schedules                                                              • Privacy Notice
    ~  ~ • Network
   vi ~t--,--          lnterchanqe Schedules/as applicable) _ _..,...._ _ _ _ _ _ _ _ _ _...,...._ _ _ _-,-_ _ _ _ _ _ _ _ _ _ ___,_ _ _ _ _ _ _--l
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    1-     U      2    SIGIIATURE                                                      PRINTED NAME                                 INITIAL HERE          TITLE                                               DATE
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                                                               i --r-}IW-rfi-//ff-------+-P-RIN_T_ED_N_A f _ l E - - - - - - - i - - - - -+-D-
   ::;;                                                                              MATTHEWBHAUSSMANN                                                   11/6/2015
                                             V

                 MEMBER BANK: FIFTH THIRD BANK, AN OHIO BANKING CORPORATION, LOCATED AT 38 FOUNTAIN SQUARE PLAZA, CINCINNATI, OH 45263




                                                                                                             Page 2 of 2
                                                                                               Bank Card Merchant AgreemenVAppllcatlon




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    vantiv                                                                                                             BANK CARD MERCHANT
                                                                                                                                AGREEMENT

    This Bank Card Merchant Agreement is made among VANTIV, LLC ("Processor") having its principal office at 8500 Governors Hill Drive, Symmes
    Township, OH 45249-1384, the Member Bank and PIRCH, INC ("Merchant") having its principal office at 9620 Towne Centre Drive, Suite 100 San
    Diego CA 82121. Processor, Member Bank and Merchant hereby agree as follows :

    I.   Processor and/or Member Bank participates in programs affiliated           Agreement, the Member Bank shall be Fifth Third Bank, an Ohio
    with MasterCard, VISA, Discover, and Other Networks which enable                banking corporation.
    holders of Cards to purchase goods and services from selected                   Service Delivery Process means Processor's then standard methods
    merchants located in the United States by use of their Cards.                   of communication, service and support, including but not limited to
    II. Merchant wishes to participate in the MasterCard, VISA, Discover,           communication via an online Merchant portal , email communication,
    and the Other Networks systems at its United States locations by                statement notices, other written communications, etc.
    entering into contracts with Cardholders for the sale of goods and
    services through the use of Cards.                                              Merchant Supplier shall mean a third party other than Processor or
    NOW, THEREFORE, in consideration of the foregoing recitals and of               Member Bank used by Merchant in connection with the Services
    the mutual promises hereinafter set forth , the parties agree as follows:       received hereunder, including but not limited to, Merchant's software
                                                                                    providers, equipment providers, and/or third party processors .
    1.   Definitions.
                                                                                    MasterCard shall mean MasterCard International, Inc.
    For the purposes of this Agreement, the following terms shall have the
    meanings set forth below:                                                       Operating Regulations means the by-laws, operating regulations
                                                                                    and/or all other rules, policies and procedures of VISA, MasterCard,
    Account shall mean an open checking account at Fifth Third Bank or              Discover, and/or Other Networks as in effect from time to time.
    its affiliate, or at another financial institution acceptable to Processor
                                                                                    Other Network shall mean any network or card association other than
    which Processor or its agent can access through the ACH system.
                                                                                    VISA, MasterCard, or Discover that is identified in the Merchant Price
    Account Change means a change in the Account or the financial                   Schedule and in which Merchant participates hereunder.
    institution where the Account is located.
                                                                                    PCI shall mean the Payment Card Industry Data Security Standard .
    ACH shall mean the Federal Reserve's Automated Clearing House
    ("ACH") system.                                                                 Service shall mean any and all services described in, and provided by
                                                                                    Processor pursuant to, this Agreement.
    Agreement means this Bank Card Merchant Agreement, the Merchant
    Price Schedule, and each exhibit, schedule, and addendum attached               VISA shall mean VISA USA, Inc.
    hereto or referencing this Agreement, as well as all documents and              Other defined terms and Services applicable to this Agreement will be
    other materials incorporated herein by reference.                               contained in a "General Services Addendum" as described herein.
    Association means VISA, MasterCard, Discover, or any Other                      2. Rules Summary: Operating Regulations: General Services
    Network, as the same are defined herein.                                        Addendum. Merchant acknowledges receipt and review of the Rules
    Rules Summary means the Bank Card Merchant Rules and                            Summary, which are incorporated into this Agreement by reference.
    Regulations, which are incorporated into this Agreement by reference            Merchant (and Processor, as applicable) agrees to fully comply with all
                                                                                    of the terms and obligations in the then current Rules Summary, as
    Cards shall mean MasterCard, VISA, Discover and Other Network                   changed or updated by Processor from time to time, at Processor's
    cards, account numbers assigned to a cardholder, or other methods of            sole reasonable discretion with notice in accordance with the Service
    payment accepted by Processor, for which pricing is set forth in the            Delivery Process. The Rules Summary is a summary of key Operating
    Agreement.                                                                      Regulations that govern this Agreement. In the event there is a
    Cardholder shall mean any person authorized to use the Cards or the             change in the Rules Summary by Processor that is not related to or
    accounts established in connection with the Cards.                              based on a corresponding Association rule or requirement, such
                                                                                    provision will not be binding on Merchant. Merchant (and Processor,
    Data Incident shall mean any alleged or actual compromise,                      as applicable) agrees to participate in the Associations in compliance
    unauthorized access, disclosure, theft, or unauthorized use of Card or          with , and subject to, the Operating Regulations. Without limiting the
    Cardholder information, regardless of cause, including without                  foregoing, Merchant (and Processor, as applicable) agrees that it will
    limitation, a breach of or intrusion into any system, or failure,               fully comply with any and all confidentiality and security requirements
    malfunction , inadequacy, or error affecting any server, wherever               of the USA Patriot Act (or similar law, rule or regulation), VISA,
    located, or hardware or software of any system, through which Card              MasterCard, Discover, and/or Other Networks, including but not limited
    information resides, passes through , and/or could have been                    to PCI , the VISA Cardholder Information Security Program, the
    compromised .                                                                   MasterCard Site Data Protection Program, and any other program or
    Discover shall mean Discover Financial Services, LLC .                          requirement that may be published and/or mandated by the
                                                                                    Associations. Notwithstanding Processor's assistance in understanding
    Event of Default shall mean each event listed in Section 13.                    the Operating Regulations, Merchant expressly acknowledges and
    Float Event shall mean a circumstance where Processor, for whatever             agrees that it is assuming the risk of compliance with all provisions of
    reason, advances settlement or any amounts and/or delays the                    the Operating Regulations, regardless of whether Merchant has
    assessment of any fees.                                                         possession of those provisions. Both MasterCard and VISA make
                                                                                    excerpts of their respective Operating Regulations available on their
    Force Majeure Event shall mean, labor disputes, fire, weather or other
                                                                                    internet sites. Merchant acknowledges responsibility for any liability
    casualty, power outages, and funding delays, however caused,
    governmental orders or regulations, or any other cause, whether                 resulting from its decision not to participate in optional Association
                                                                                    programs, including but not limited to any increased Data Incident
    similar or dissimilar to the foregoing , beyond Processor's reasonable
                                                                                    liability resulting from its decision not to participate in an Association
    control.
                                                                                    EMV program. In the event Merchant chooses to participate in an
    Initial Term shall mean 2 years from the 1st day of the calendar month          optional Association program, including but not limited to an EMV
    following the later of the date Processor executes this Agreement or            program, Merchant acknowledges and agrees that it shall be
    the first date that all of Merchant's locations receive the Services from       responsible for (i) ensuring compliance with any applicable program
    Processor.                                                                      requirements and/or Operating Regulations applicable to such
                                                                                    program, including but not limited to making any updates to its point of
    Member Bank shall mean a member of VISA, MasterCard and/or Other                sale equipment and (ii) any cost associated with its participation in the
    Networks, as applicable, that provides sponsorship services in                  applicable program, including any costs assessed to Merchant by
    connection with this Agreement. As of the commencement of this
                                                            Bank Card Merchant Agreement Page 1 of 8
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    Processor. Other Services applicable to this Agreement will be                  Processor has not received payment for any sales transaction,
    contained in the General Services Addendum as may be published                  notwithstanding Processor's prior payment to Merchant for such sales
    and modified from time to time by Processor and the parties agree that          transaction pursuant to Section 5 above or any other section . Not
    such Addendum shall be incorporated into and made part of this                  limiting the generality of the foregoing, Merchant agrees that any
    Agreement and that such Addendum shall apply only with respect to               operational and/or other Services performed on behalf of Merchant,
    those Services actually provided by Processor and received by                   including but not limited to, production of facsimile drafts in response to
    Merchant hereunder. Merchant acknowledges receipt and review of                 copy requests, response to compliance cases, augmentation of
    the General Services Addendum. In the event of a conflict between the           Merchant data for interchange, transaction stand-in, digital draft storage
    fees set forth on the Merchant Price Schedule and the General                   and retrieval, etc. shall in no way affect Merchant's obligations and
    Services Addendum, the Merchant Price Schedule shall control.                   liability in this Agreement including those in the foregoing sentence.
    3. Application: Change in Business. Merchant represents that all
                                                                                    Merchant may instruct Processor in the defense of chargebacks,
    information supplied by Merchant in connection with its application or          compliance cases and similar actions, and Merchant agrees that it will
    other request for services is complete and accurate. In accordance with         promptly provide any such instructions to Processor. When Processor
    Section 326 of the USA Patriot Act, Processor is required to review and         has determined it has all necessary information and instructions,
    record information from the documents used in identifying new                   Merchant hereby authorizes Processor to resolve chargebacks and
    merchant customers. The preceding sentence is intended to inform                respond to retrieval requests and other inquiries without further
    Merchant of Processor's procedures and of Processor's responsibility            consulting Merchant.
    under the USA Patriot Act. Merchant agrees to provide Processor with            7. Merchant Suppliers. Merchant may use one or more Merchant
    30 days prior written notice of Merchant's intent to change its business        Suppliers in connection with the Services and/or the processing of
    form or entity in any manner (e.g. a change from a limited liability            some or all of its Card transactions . In no event shall Merchant use a
    company to a corporation), and/or of Merchant's intent to sell its stock or     Merchant Supplier unless such Merchant Supplier is compliant with
    assets to another entity.                                                       PCI and/or the Payment Application Data Security Standard ("PA-
                                                                                    DSS"), depending on the type of Merchant Supplier, as required by the
    4. Card Acceptance.             Merchant must accept all Cards and
    complete all Card transactions in accordance with the Operating                 Operating Regulations. Merchant acknowledges and agrees that
    Regulations. In the event Processor for whatever reason is unable to            Merchant shall cause its Merchant Supplier to complete any steps or
    obtain, or due to system delays chooses not to wait to obtain,                  certifications required by any Association (e.g., registrations, PA-DSS,
    authorization from an Association, Processor may at its option "stand-in"       PCI, audits, etc.). Merchant shall cause its Merchant Supplier to
    for such entities and authorize the sales transaction based on criteria         cooperate with Processor in completing any such steps or certifications
    established by Processor, and Merchant remains responsible for such             (if applicable), and in performing any necessary due diligence on such
                                                                                    Merchant Supplier. Merchant shall be solely responsible for any and
    sales transaction in accordance with this Agreement. Merchant has
    identified to Processor the products and/or services for which it intends       all applicable fees , costs, expenses and liabilities associated with such
    to accept Cards as payment. Merchant agrees that it shall only                  steps, registrations, and certifications. Merchant shall bear all risk and
                                                                                    responsibility for conducting Merchant's own due diligence regarding
    complete and deliver to Processor sales transactions produced as the
    direct result of bona fide sales made by Merchant to Cardholders for            the fitness of any Merchant Supplier(s) for a particular purpose and for
    such identified products and/or services, unless otherwise agreed by            determining the extent of such Merchant Supplier's compliance with
    Processor in writing                                                            the Operating Regulations and applicable law. Merchant expressly
                                                                                    agrees that Processor shall in no event be liable to Merchant or any
    5. Transaction Processing. Processor or Member Bank will initiate               third party for any actions or inactions of any Merchant Supplier used
    payment to Merchant of the total face amount of each sales transaction          by Merchant, even if Processor introduced and/or recommended the
    acquired and accepted hereunder, subject to the terms and conditions            use of such Merchant Supplier to Merchant, or never objected to the
    of this Agreement, the Operating Regulations, and applicable law, after         use of such Merchant Supplier, and Merchant hereby expressly
    Processor receives payment for such sales transactions. Unless                  assumes all such liability.
    otherwise agreed to in writing by Processor, Merchant shall
                                                                                    8. Cardholder Information. Merchant shall not disclose, sell,
    electronically deliver to Processor and in a format acceptable to
    Processor all credit vouchers and sales transaction records within two          purchase, provide, or exchange Cardholder name, address, account
    (2) business days after the applicable transaction date (or such shorter        number or other information to any third party other than to Processor or
    period as determined by the applicable Association), except (i) in the          an Association for the purpose of completing a sales transaction unless
    case of a delayed merchandise delivery, when the sales transaction              specifically permitted by the Operating Regulations . Merchant
    record shall be delivered within two (2) business days of the                   represents and warrants that neither it nor its Merchant Supplier shall
    merchandise delivery or (ii) as specified otherwise in the Operating            retain or store any portion of the magnetic-stripe data subsequent to the
    Regulations. Merchant agrees that it shall deliver sales transaction            authorization of a sales transaction, nor any other data prohibited by the
                                                                                    Operating Regulations and/or this Agreement.
    records to Processor at least every business day. The preparation and
    delivery to Processor by Merchant of sales transactions shall constitute        Processor acknowledges responsibility for payment card data on its
    an endorsement to Processor by Merchant of each sales transaction,              proprietary systems. Processor will (i) maintain its PCI-DSS
    and Merchant authorizes Processor or its representative to place                certification and (ii) be validated as a PCI-DSS compliant service
    Merchant's endorsement on any sales transaction at any time.                    provider. In the event Processor is deemed not to be in compliance
    Processor may refuse to acquire any sales transaction or claim the              with PCI-DSS, Processor shall make commercially reasonable efforts
    amount of which, in whole or in part, it could charge back to the               to become compliant and maintain compliance thereafter; provided,
    Merchant pursuant to this Agreement, if it had acquired the sales               however, that should Processor fail at any time to maintain compliance
    transaction or claim. Merchant acknowledges and agrees that                     subject to the cure period set forth in Section 14 hereof, Merchant may
    Processor is not responsible for any action or inaction taken by the            terminate this Agreement immediately upon written notice to
    financial institution or other entity that issued the Card(s) to the            Processor. As of the execution of the Agreement, PCI-DSS information
    Cardholder or the processor of such Card(s). Merchant agrees that               and standards can be found at the Payment Card Industry Security
    Processor may set off any amounts due to Processor from amounts                 Council website at https://www.pcisecuritystandards.org/index.htm.
    owed to Merchant, including but not limited to any amounts owed to
    Merchant from Processor and/or any of its affiliate(s).                          9. Term . The term of this Agreement shall commence the date
    6.   Exception Items.       Merchant agrees to reacquire and pay                Processor executes this Agreement, and shall continue for the Initial
    Processor the amount of any sales transaction, and Processor shall              Term as defined in Section 1 of this Agreement. Except as hereafter
    have the right at any time to charge Merchant's Account therefore with          provided, unless either party gives written notice to the other party at
    notice via Processor's Service Delivery Process, for any return,                least 60 days prior to the expiration of any term, the Agreement
    chargeback, compliance case, any other Association action , or if the           including all addenda, schedules and exhibits hereto or referencing this
    extension of credit for merchandise sold or services or sales                   Agreement shall be automatically for periods equal to one year. All
    transactions performed was in violation of law or the rules or regulations      obligations of Merchant incurred or existing under this Agreement as of
    of any governmental agency, federal, state, local or otherwise; or if           the date of termination, shall survive such termination.

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    10. Processor Fees. Merchant agrees to pay Processor the fees,                     person or entity having, directly or indirectly, more than 30% of either
    expenses and all other amounts set forth in the Agreement including,               the legal or beneficial ownership of Merchant.
    but not limited to, the Merchant Price Schedule. Processor may change              Upon the occurrence of an Event of Default, Processor may at any time
    or add fees and/or charges upon notice to Merchant via Processor's
                                                                                       thereafter terminate this Agreement by giving Merchant written notice
    Service Delivery Process, and such fees and/or charges shall be
                                                                                       thereof. However, except in instances where immediate termination is
    immediately payable by Merchant when assessed by Processor. In the                 required by any Association or if Member Bank and/or Processor
    event Processor changes or adds its fees and/or charges pursuant to
                                                                                       reasonably believe that the Event of Default poses material risk to either
    the immediately preceding sentence ("Fee Change"), Merchant may,
                                                                                       of them or involves a violation of applicable law, Merchant will have 30
    subject to the following provisions, terminate the Agreement upon 30               days following Processor's notice to cure an Event of Default under
    days advance written notice to Processor provided Processor receives
                                                                                       Section (ii), (iii), (iv) or (v) prior to termination under this section.
    such written notice from Merchant of its intention to so terminate within
                                                                                       Termination of Merchant for any reason shall not relieve Merchant from
    120 days of the date the Fee Change becomes effective, and such Fee                any liability or obligation to Processor. If, prior to the date on which the
    Change shall not apply to Merchant. Upon Processor's receipt of
                                                                                       then current term of this Agreement is scheduled to expire, either this
    Merchant's written notice pursuant to the immediately preceding
                                                                                       Agreement is terminated by Processor for an Event of Default as
    sentence, Processor shall have 10 days to rescind or waive the Fee                 described in roman numerals (ii) or (iii) of this Section, or Merchant for
    Change, and, in the event Processor elects to rescind or waive the Fee
                                                                                       any reason discontinues receiving the Services from Processor (except
    Change, Merchant shall not have the right to terminate this Agreement
                                                                                       as may be specifically permitted by this Agreement), Merchant shall be
    as a result of the Fee Change and this Agreement shall remain in full              liable to Processor liquidated damages in an amount equal to the
    force and effect notwithstanding Merchant's written notice to terminate.
                                                                                       average monthly revenue (which does not include interchange and
    Merchant acknowledges and agrees that this Section shall not be
                                                                                       other Association fees) payable to Processor as a result of this
    intended or construed to permit Merchant to terminate the Agreement                Agreement for the preceding 12 calendar months, or such shorter
    as a result of a change or increase in fees from third parties and/or in
                                                                                       period if this Agreement has not been in effect for 12 months, multiplied
    pass through fees as referenced in this Agreement or the Merchant
                                                                                       by the lesser of (a) 6 months, or (b) number of months remaining during
    Price Schedule. At Merchant's request, Processor may, in its sole                  the then current term of this Agreement. Merchant recognizes and
    discretion, establish multiple Merchant billing definitions on its system,
                                                                                       agrees that the liquidated damages are fair and reasonable because it
    and in such event Processor shall assess all applicable fees separately
                                                                                       is not possible to establish the actual increase in volume and activity by
    and independently with respect to each such billing definition.                    Merchant during the term of this Agreement. Merchant shall also
    11. Third Party Assessments. Notwithstanding any other provision                   reimburse Processor for any damage, loss or expense incurred by
    of this Agreement, Merchant shall be responsible for all amounts                   Processor as a result of a breach by Merchant, including any damages
    imposed or assessed to Merchant and/or Processor in connection with                set forth in any addendum and/or schedule and/or exhibit hereto and
    this agreement by third parties such as, but not limited to, Associations          including all past due, unpaid and/or future invoices for services
    and Merchant Suppliers (including telecommunication companies), to                 rendered by Processor in connection with this Agreement. All such
    the extent that such amounts are not the direct result of the gross                amounts shall be due and payable by Merchant upon demand.
    negligence or willful misconduct of Processor. Such amounts include,               Processor shall also have the option to require Merchant to reacquire all
    but are not limited to, fees, fines, assessments, penalties, loss                  outstanding sales transactions acquired by Processor hereunder. In
    allocations, etc. Any changes or increases in such amounts shall                   addition to, and not in limitation of the foregoing, Processor may refuse
    automatically become effective upon notice to Merchant via Processor's             to provide the Services in the event it has not been paid for the Services
    Service Delivery Process and shall be immediately payable by                       as provided herein.
    Merchant when assessed by Processor. In the event of a Float Event,                14. Processor Nonperformance: Processor shall be in default under
    Processor reserves the right to assess to Merchant, and Merchant shall             this Agreement ("Processor Default") if: (i) Processor becomes subject
    pay to Processor, a cost of funds associated with the Float Event (which
                                                                                       to any voluntary or involuntary bankruptcy, insolvency, reorganization
    Processor may at its option assess as a transaction surcharge), the
                                                                                       or liquidation proceeding, a receiver is appointed for Processor, or
    amount of which shall be determined by Processor in its reasonable                 Processor makes an assignment for benefit of creditors, or admits its
    discretion, and which may be changed by Processor from time to time,
                                                                                       inability to pay its debts as they become due; or (ii) Processor fails to
    and such cost of funds shall be effective as of the start of the Float
                                                                                       pay settlement funds to Merchant when due; or (iii) Processor is in
    Event and shall be immediately payable by Merchant when assessed by                default of any material terms or conditions of this Agreement; or (iv)
    Processor.
                                                                                       Processor ceases to do business as a going concern. Upon the
    12. Exclusivity. Processor and Member Bank reserve the right to                    occurrence of a Processor Default, and Processor's failure to cure the
    enter into other agreements pertaining to the Services with others                 same within 30 days of the Processor's receipt of written notice from
    including without limitation other merchants. The parties agree that               Merchant specifically describing the Processor Default and the date on
    Processor shall be the exclusive provider of the Services to Merchant              which the Processor Default first occurred, Merchant may thereafter
    for its showroom, website and fulfilment center transaction volume.                terminate this Agreement by giving Processor 30 days written notice
    Processor agrees that Merchant may use another provider as                         thereof, provided Processor actually receives such notice of
    necessary at its mobile events and trade shows provided, however,                  termination within 90 days after the end of such cure period.
    Processor remains Merchant's preferred provider and such transaction
                                                                                       15. Taxes. Any sales, use, excise or other taxes (other than
    volume does not exceed 5,000,000 per year.                                         Processor's income taxes) payable in connection with or attributable to
    13. Default. The following events shall be considered an "Event of                 the Services provided to the Merchant per this Agreement shall be paid
    Default":                                                                          by Merchant. Processor may, but shall not have the obligation to, pay
    (i) Merchant becomes subject to any voluntary or involuntary                       such taxes In the event Processor pays such taxes, Merchant shall
    bankruptcy, insolvency, reorganization or liquidation proceeding, a                immediately reimburse Processor or Processor may, at Processor's sole
    receiver is appointed for Merchant, or Merchant makes an assignment                option, charge Merchant's Account.
    for the benefit of creditors, or admits its inability to pay its debts as they
                                                                                       16. Binding on Successors: Assignment. This Agreement and all
    become due; or                                                                     of the provisions hereof shall be binding upon and inure to the benefit of
    (ii) Merchant fails to pay or reimburse the fees, expenses or charges
                                                                                       the parties hereto and their respective heirs, administrators, successors,
    referenced herein when they become due; or                                         transferees and assignees. Neither party may assign or transfer this
    (iii) Merchant is in default of any terms or conditions of this Agreement          Agreement or any interest herein, in whole or in part, without the other
    whether by reason of its own action or inaction or that of another; or
                                                                                       party's prior written consent, which will not be unreasonably delayed or
    (iv) Processor reasonably believes that there has been a material
                                                                                       withheld provided, however, that Processor may, upon notice to
    deterioration in Merchant's financial condition; or                                Merchant assign its rights and obligations under this Agreement to a
    (v) any standby letter of credit, if and as may be required pursuant to
                                                                                       parent, subsidiary or affiliate, or to a successor-in-interest of all or
    Section 20, will be cancelled, will not be renewed, or is not in full force
                                                                                       substantially all of its assets or equity securities without the consent of
    and effect; or                                                                     Merchant. Merchant will remain liable for any amounts owed under this
    (vi) Merchant ceases to do business as a going concern, or there is a
                                                                                       Agreement after an unauthorized transfer or assignment by Merchant,
    change in ownership of Merchant which changes the identity of any
                                                               Bank Card Merchant Agreement Page 3 of 8
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    even if Processor continues to provide Services to such transferee or            of the rights and remedies available to Processor in this Agreement,
    assignee. This Agreement is for the benefit of, and may be enforced              including but not limited to exercising the rights and remedies of
    only by, Processor and Merchant and their respective successors and              Processor in Section 13. In the vent Processor exercises its right to
    permitted transferees and assignees, and is not for the benefit of, and          establish a reserve or require a letter of credit pursuant to this Section,
    may not be enforced by, any third party.                                         Merchant may, subject to the following provisions, terminate the
    17. Notices.        All notices, requests, demands and other                     Agreement upon 30 days advance written notice to Processor provided
                                                                                     Processor receives such written notice from Merchant of its intention to
    communications to be delivered hereunder unless specified otherwise
                                                                                     so terminate within 90 day s of the date on which Processor establishes
    herein shall be in writing and shall be delivered by nationally recognized
    overnight carrier, registered or certified mail, postage prepaid, to the         the reserve or requires the letter of credit. Upon Processor's receipt of
                                                                                     Merchant's written notice pursuant to the immediately preceding
    following addresses:
                                                                                     sentence, Processor may, at its option, return the reserve to Merchant or
    {i) if to Processor: Vantiv, LLC, 8500 Governors Hill Drive, Mail Drop           waive the requirement for a letter of credit, and, in the event Processor
                                                                                     elects to return the reserve to Merchant or waive the requirement for a
    1GH1Y1, Symmes Township, OH 45249-1384, Attention: General
    Counsel/Legal Department;                                                        letter of credit, Merchant shall not have the right to terminate this
                                                                                     Agreement pursuant to this Section and this Agreement shall remain in
    {ii) if to Merchant: to the Merchant address provided above, Attention           full force and effect notwithstanding Merchant's written notice to
    President/Owner; or to such other address or to such other person as             terminate. Processor represents to Merchant that it has no intention of
    either party shall have last designated by written notice to the other           requiring a reserve or letter of credit immediately upon execution of this
    party.                                                                           Agreement. Processor will not require a reserve or letter of credit
    Notices, etc., so delivered shall be deemed given upon receipt.                  hereunder unless Processor, in its commercially reasonable judgment,
                                                                                     believes its exposure under this Agreement is outside of Processor's
    18. Unenforceable Provision. If any term or provision of this                    standard risk policy. Any such reserve or letter of credit shall be limited
    Agreement or any application thereof shall be invalid or unenforceable,          to an amount reasonably calculated to cover anticipated fees, fines,
    the remainder of this Agreement and any other application of such term           Chargebacks and returns.
    or provision shall not be affected thereby.
    19. Payment. Merchant shall always maintain an open Account.                     Merchant shall not sell, assign, transfer or encumber all or any part of
    Merchant irrevocably authorizes Processor to debit and/or credit the             its interest in the reserve account, if any, or any present or future rights
    Account to settle any and all fees and other amounts due Processor               under this Agreement, including but not limited to, Merchant's right to
    under this Agreement, and such authority shall remain in effect for a            receive any payments or funds. Neither Processor nor Member Bank
    period of one (1) calendar year following the date of termination of this        shall be obligated to honor any such purported attempt to sell, assign,
    Agreement, regardless of whether Merchant has notified Processor of              transfer or encumber such interest, rights, payments or funds unless
    an Account Change as defined below. Merchant shall always maintain               both Processor and Member Bank consent in writing. In the event
    the Account with sufficient cleared funds to meet its obligations under          Merchant breaches this paragraph, then, in addition to any other rights
    this Agreement. In the event Merchant desires an Account Change,                 and remedies Processor may have under this Agreement and
    Merchant shall give Processor 30 days prior written notice in                    otherwise, Processor shall have the right, at its option, to withhold any
    accordance with the provisions of Section 17 of any such change, and             or all funds or payments which would otherwise be payable to
    Processor shall use reasonable commercial efforts to effect such                 Merchant under this Agreement until it shall have received instructions
    Account Change; however, such Account Change shall not be effective              concerning the disposition of such payments or funds, satisfactory in
    until the date on which Processor actually makes such Account Change             form and substance to Processor and signed by both Merchant and
    on Processor's system. In no event shall Processor have any liability for        any purported assignee. Merchant shall indemnify Processor and hold
    any amounts directed to an Account that has been designated by any               it harmless from and against any and all claims, liabilities and damages
    purported representative of Merchant or its Merchant Supplier at any             which may be asserted against Processor by any purported assignee
    time during the term of this Agreement, regardless of any Account                or any other person arising out of Merchant's purported sale,
    Change. All amounts due Processor under this Agreement shall be                  assignment, transfer or encumbrance of all or any of Merchant's
    paid without set-off or deduction, and shall be due from Merchant as of          present or future rights under this Agreement.
    the date Processor originates an ACH debit transaction record to
    Merchant's Account.       Any fees not collected from Merchant by                21. Indemnification.
    Processor when due shall bear interest at one (1) percentage point per           A. Subject to the other limitations, terms and conditions of this
    month but in no event more than the highest rate permitted by law. The           Agreement, Processor shall indemnify, defend, and hold harmless
    acceptance by Processor, Processor's affiliate or other financial                Merchant, and its directors, officers, employees, affiliates and agents
    institution of Merchant's closing {or termination of) its Account shall not      from and against all third party proceedings, claims, losses, damages,
    constitute a mutually agreed upon termination of this Agreement.                 demands, liabilities and expenses whatsoever, including all reasonable
    Without limiting the generality of any other provision of this Agreement,        legal and accounting fees and expenses and all reasonable collection
    Processor and/or Member Bank are hereby authorized by Merchant to                costs, incurred by Merchant, its directors, officers, employees, affiliates
    charge amounts due under this Agreement i) against each day's sales              and agents to the extent resulting from or arising out of Processor's
    transactions ii) against any reserve; or iii) by making an ACH debit to          breach of this Agreement, gross negligence, or willful misconduct.
    Merchant's Account.
                                                                                     B. Subject to the other limitations, terms and conditions of this
    20. Reserve; Letter of Credit. As a specifically bargained for                   Agreement, except to the extent caused by Processor's gross
    inducement for Processor to enter in this Agreement with Merchant,               negligence or willful misconduct, Merchant shall indemnify, defend, and
    Processor, at its option, reserves the right to i) establish from amounts        hold harmless Processor, and its directors, officers, employees,
    payable to Merchant hereunder, and/or cause Merchant to pay to                   affiliates and agents from and against all proceedings, claims, losses,
    Processor, a reserve of funds satisfactory to Processor to cover actual or       damages, demands, liabilities and expenses whatsoever, including all
    anticipated fees, liabilities, chargebacks, returns and any other applicable     reasonable legal and accounting fees and expenses and all reasonable
    assessments incurred or expected to be incurred by Processor or                  collection costs, incurred by Processor, its directors, officers,
    Member Bank related to the Services provided to Merchant; and/or ii)             employees, affiliates and agents resulting from or arising out of the
    require Merchant to establish an irrevocable standby letter of credit,           Services in this Agreement, Merchant's processing activities, the
    including additional and/or replacement letters of credit if required by         business of Merchant or its customers, any sales transaction acquired
    Processor, with a beneficiary designated by Processor, and which are             by Processor, any noncompliance with the Operating Regulations {or
    issued from a financial institution other than Member Bank or any of its         any rules or regulations promulgated by or in conjunction with the
    affiliates, that is acceptable to Processor, in a format, with an expiration     Associations) by Merchant or its agent {including any Merchant
    date, and in an amount acceptable to Processor in its sole discretion. In        Supplier), any Data Incident, any infiltration, hack, breach, or violation
    the event Merchant fails to establish, for any reason whatsoever, a              of the processing system of Merchant, its Merchant Supplier, or any
    reserve and/or letter of credit as required above, Processor shall have all      other third party processor or system, or by reason of any breach or

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    nonperformance of any provision of this Agreement on the part of the            obligation to indemnify Processor pursuant to section 21 .In no event
    Merchant, or its employees, agents, Merchant Suppliers, or customers.           shall Processor be liable for any damages or losses (i) that are wholly or
                                                                                    partially caused by the Merchant, or its employees, agents, or Merchant
    C. The indemnification of each party shall survive the termination of the       Suppliers that should have been reported to Processor pursuant to
    Agreement. The indemnified party shall (i) provide prompt written notice        Section 22, (ii) that first occurred, whether or not discovered by
    of any claim to the indemnifying party; (ii) cooperate with all reasonable      Merchant, more than 30 days prior to Processor's receipt of written
    requests of the indemnifying party; and (iii) surrender exclusive control       notice from Merchant or (iii) that were caused due to errors in data
    of the defense and settlement of any third party claim to the                   provided by Merchant to Processor.
    indemnifying party provided that the indemnifying party will obtain the         C. Processor's liability related to or arising out of this Agreement shall
    indemnified party's written consent prior to agreeing to any settlement or      in no event exceed an amount equal to the lesser of (i) actual monetary
    agreement that requires the indemnified party to make any admission of          damages incurred by Merchant or (ii) fees paid to and retained by
    fault or to pay any amounts in connection with such settlement or               Processor for the particular Services in question for the three calendar
    agreement that are not fully paid for by the indemnifying party. The            months immediately preceding the date on which Processor received a
    indemnified party shall not unreasonably withhold or delay any consent          written notice from Merchant detailing Processor's material
    required under this Section. The indemnified party may elect to                 nonperformance under this Agreement. For avoidance of doubt, the
    participate in the action with an attorney of its own choice at its own         cap on Processor's liability set forth in the immediately preceding
    expense.                                                                        sentence will not limit Processor's obligation to settle funds due to
                                                                                    Merchant under this Agreement.
    22. Review of Settlement Activity and Reports; Notice of Failure                D. Processor shall not be deemed to be in default under this
    by Processor. Merchant agrees that it shall review all reports, notices,        Agreement or liable for any delay or loss in the performance, failure to
    and invoices prepared by Processor or its agent and made available to           perform, or interruption of any Services to the extent resulting from a
    Merchant, including but not limited to reports, notices, and invoices           Force Majeure Event. Upon such an occurrence, performance by
    provided via Processor's online reporting tool. Processor reserves the          Processor shall be excused until the cause for the delay has been
    right to send some or all of the reports and/or invoices and/or notices of      removed and the Processor has had a reasonable time to again provide
    any pricing changes permitted under this Agreement via communication            the Services. No cause of action, regardless of form, shall be brought
    methods utilized as components of its Service Delivery Process which            by either party more than 1 year after the cause of action arose, other
    method Processor may change from time to time with notice via                   than one for the nonpayment of fees and amounts due Processor under
    Processor's Service Delivery Process. Merchant expressly agrees that            this Agreement. Any restriction on Processor's liability under this
    Merchant's failure to notify Processor that Merchant has not received           Agreement shall apply in the same manner to Member Bank. In the
    any settlement funds within five business days from the date that               event that Merchant has a claim against Member Bank in connection
    settlement was due to occur, or fails to reject any report, notice, or          with the Services provided under this Agreement, Merchant shall
    invoice within thirty business days from the date the report or invoice is      proceed against Processor (subject to the limitations and restrictions
    made available to Merchant, shall constitute Merchant's acceptance of           herein), and not against Member Bank, unless otherwise specifically
    the same. In the event Merchant believes that Processor has failed in           required by the Operating Regulations.
    any way to provide the Services, Merchant agrees to provide Processor
                                                                                    25. Controlling Documents. This Agreement (including all addenda
    with written notice, specifically detailing any alleged failure, within 30
                                                                                    and schedules and exhibits hereto and all documents and materials
    days of the date on which the alleged failure first occurred.
                                                                                    referenced herein) supersedes any and all other agreements, oral or
    23. Choice of Law; Jurisdiction; Venue. This Agreement shall be                 written, between the parties hereto with respect to the subject matter
    governed by, and construed and enforced in accordance with, the laws            hereof, and sets forth the complete and exclusive agreement between
    of the State of Ohio without regard to conflicts of law provisions. The         the parties with respect to the Services and, unless specifically provided
    parties hereby consent and submit to service of process, personal               for herein, other services are not included as part of this Agreement. If
    jurisdiction, and venue in the state and federal courts in Cincinnati, Ohio     there is a conflict between the Bank Card Merchant Agreement and an
    or Hamilton County, Ohio, and select such courts as the exclusive               addendum or schedule or exhibit hereto, the addendum or schedule or
    forum with respect to any action or proceeding arising out of or in any         exhibit shall control. If there is a conflict between the Rules Summary
    way relating to this Agreement, and/or pertaining in any way to the             and this Agreement, the Rules Summary shall control. If there is a
    relationship between Merchant and Processor. MERCHANT AND                       conflict between Operating Regulations and this Agreement, the
    PROCESSOR HEREBY WAIVE THE RIGHT TO TRIAL BY JURY IN                            Operating Regulations shall control. If there is a conflict between the
    ANY MATTER UNDER, RELATED TO, OR ARISING OUT OF THIS                            Operating Regulations and the Rules Summary, the Operating
    AGREEMENT OR ANY TRANSACTIONS OR RELATIONSHIPS                                  Regulations shall control.
    CONTEMPLATED HEREBY.
                                                                                    26. Regulatory Remedial Right. Processor may suspend or cease
    24. Limit of Liability; Force Majeure.                                          providing any Service in this Agreement if:               (i) in Processor's
                                                                                    reasonable opinion, such Service, or the business of Merchant,
    A. EXCEPT FOR THOSE EXPRESS WARRANTIES MADE IN THIS                             violates or would violate the Operating Regulations, or any federal,
    AGREEMENT, PROCESSOR DISCLAIMS ALL WARRANTIES,                                  state or local statute or ordinance, or any regulation, order or directive
    INCLUDING, WITHOUT LIMITATION, ANY EXPRESS OR IMPLIED                           of any governmental agency or court; (ii) Merchant is accused by any
    WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A                                  federal, state or local jurisdiction of a violation of any applicable statute
    PARTICULAR PURPOSE. MERCHANT HEREBY ACKNOWLEDGES                                or ordinance or any regulation, order or directive of any governmental
    THAT THERE ARE RISKS ASSOCIATED WITH THE ACCEPTANCE                             agency or court, or if Processor reasonably believes, based upon the
    OF CARDS AND MERCHANT HEREBY ASSUMES ALL SUCH RISKS                             opinion of its legal counsel, that Merchant may be in violation of any of
    EXCEPT AS MAY BE EXPRESSLY SET FORTH HEREIN.                                    the foregoing; and/or (iii) in Processor's reasonable opinion,
    B. Without limiting the foregoing, neither party shall be liable for lost       Merchant's activities may result in increased regulatory scrutiny or
    profits, lost business or any incidental, special, consequential or             reputational harm. Processor may also suspend or cease providing
    punitive damages (whether or not arising out of circumstances known             any Service in this Agreement to Merchant if directed to do so by
    or foreseeable by the other party) suffered by such party, its                  Member Bank. Should Merchant not process sales transactions
    customers, or any third party in connection with the Services provided          through Processor's system for a period of one year or more,
    hereunder. However, nothing in the foregoing sentence is in any way             Processor may remove Merchant from Processor's systems without
    intended, and shall not be construed, to limit (i) Merchant's obligation        notice, without relieving Merchant from any of Merchant's obligations
    to pay any fees, assessments or penalties due under this Agreement,             under this Agreement.
    including but not limited to those imposed by telecommunications
                                                                                    27. Conversion; Deconversion. Merchant shall take all necessary
    services providers, VISA, MasterCard and/or Other Networks; or (ii)
                                                                                    steps to, and shall, promptly convert to Processor's system for the
    any damages due from Merchant related to an early termination of this           Services in this Agreement not later than 90 days after the execution of
    Agreement; or (iii) any damages due from Merchant related to the
                                                                                    this Agreement by Processor. Processor agrees that it shall not
    failure by Merchant to exclusively receive the Services from Processor
                                                                                    charge Merchant for Processor's standard and customary internal
    to the extent required by the Agreement, and/or (iv) Merchant's                 testing and conversion preparation only, in connection with Merchant's
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    initial conversion to Processor's system at the commencement of this            Processor's customers, which may be made public. Merchant agrees
    Agreement, and as determined by Processor in its sole reasonable                that, upon Processor's request, Merchant will provide testimonial
    discretion. The foregoing shall not be deemed to limit Merchant's               information related to the Services received by Merchant hereunder.
    obligation to pay any third party fees and expenses incurred by
    Processor in connection with Merchant's conversion , which shall                29. Financial Statements. If at any time Merchant is not a publicly
    remain the sole responsibility of Merchant. Merchant agrees to be               traded company, Merchant shall provide Processor with its most recent
    responsible for all direct and indirect costs (including but not limited to     audited annual financial statement prepared and certified by Merchant's
    those incurred by Processor, its affiliates and/or agents) in connection        chief financial officer within 15 days of Processor's request therefore.
    with and/or related to Merchant's conversion from Processor at the
    termination of this Agreement and/or related to any conversion or               30. No Waiver. If either party waives in writing an unsatisfied
    programming effort affecting the Services after Merchant's initial              condition, representation, warranty, undertaking or agreement (or
    conversion to Processor.                                                        portion thereof) set forth herein, the waiving party shall thereafter be
                                                                                    barred from recovering, and thereafter shall not seek to recover, any
    28. Confidential Information.                                                   damages, claims, losses, liabilities or expenses, including, without
        (a) Confidential Information Supplied by Processor. Merchant                limitation, legal and other expenses, from the other party in respect of
    acknowledges that Processor will be providing Merchant with certain             the matter or matters so waived . Except as otherwise specifically
    confidential information, including but not limited to, this Agreement,         provided for in this Agreement, the failure of any party to promptly
    third party audit reports, and information relating to the finances,            enforce its rights herein shall not be construed to be a waiver of such
    systems, methods, techniques, programs , devices and operations of              rights unless agreed to in writing. Any rights and remedies specifically
    Processor and/or the Associations . Merchant shall not disclose any             provided for in any addendum or schedule or exhibit are in addition to
    such confidential information to any person or entity (other than to            those rights and remedies set forth in this Agreement and/or available to
    those employees and Merchant Suppliers of Merchant who participate              Processor at law or in equity.
    directly in the performance of this Agreement and need access to such
    information). Without limiting the foregoing , Merchant agrees that it will     31. Compliance with Law.
    fully comply with any and all confidentiality and security requirements         Merchant represents and warrants to Processor that it will comply with
    of the USA Patriot Act (or similar law, rule or regulation), VISA,              all applicable federal , state and local laws and regulations in connection
    MasterCard, Discover, and/or Other Networks.                                    with Merchant's receipt of the Services and/or applicable to Merchant's
        (b) Confidential Information Supplied by Merchant. Processor                business operations. Processor will comply with federal , state and local
    acknowledges that Merchant will be providing Processor with certain             laws and regulations applicable directly to Processor in its provision of
    confidential information , including information relating to the methods,       the Services.
    techniques, programs , devices and operations of Merchant. Such                 32. Security. Data Incidents. Merchant will be solely responsible for
    confidential information does not include transaction information which         the security, quality, accuracy, and adequacy of all transactions and
    has been de-identified or aggregated. Processor will not disclose               information supplied hereunder, and will establish and maintain
    confidential and proprietary information about Merchant to any person           adequate audit controls to monitor the security, quality, maintenance,
    or entity (other than to those employees and agents of Processor who            and delivery of such data. Without limiting the generality of the
    participate directly in the performance of this Agreement and need              foregoing , Merchant represents and warrants to Processor that it has
    access to such information). Merchant acknowledges receipt of the               implemented and will maintain secure systems for maintaining and
    Vantiv, LLC privacy notice ("Privacy Notice"). Merchant should direct           processing information and for transmitting information to Processor.
    any questions or requests for another copy of the Privacy Notice to a           Processor shall have no liability whatsoever for the security or
    Processor customer service representative or Merchant's primary                 availability of any communications connection used in connection with
    relationship manager, if applicable. Notwithstanding anything to the            the Services provided hereunder~ Merchant acknowledges that
    contrary in the Privacy Notice or this Agreement, Processor may use,            Processor is responsible only for the security of its own proprietary
    disclose, share, and retain any information provided by Merchant                systems, and not for the systems of any third party, including without
    and/or arising out of the Services, during the term and thereafter,: (a)        limitation any Merchant Supplier of Merchant. Merchant shall notify
    with Merchant's franchisor, Merchant's franchisee(s), association(s) to         Processor immediately if Merchant becomes aware of or suspects a
    which Merchant belongs and/or belonged as of the commencement of                Data Incident. Merchant agrees to fully cooperate with Processor and
    this Agreement, (b) with any affiliate of Merchant; (c) in response to          any Association with respect to any investigation and/or additional
    subpoenas, warrants, court orders or other legal processes; (d) in              requirements related to a suspected Data Incident.
    response to requests from law enforcement agencies or government
    entities; (e) to comply with applicable laws, regulations, or Operating         33. Audits. At any reasonable time upon reasonable notice to
    Regulations; (f) with Processor's affiliates , partners and agents; (g) to      Merchant, Merchant shall allow auditors, including the auditors of any
    perform analytic services for Merchant, Processor and/or others                 Association or any third party designated by Processor or the applicable
    including but not limited to analyzing, tracking, and comparing                 Association, to review the files held and the procedures followed by
    transaction and other data to develop and provide insights for such             Merchant at any or all of Merchant's offices or places of business . All
    parties as well as for developing, marketing, maintaining and/or                audits shall be at Processor's sole expense unless such audit is
    improving Processor's products and services; and/or (h) to offer or             required by the Operating Regulations or an Association, in which case
    provide the Services hereunder.                                                 such audit will be at Merchant's sole expense. In the event the auditi s
        (c) Miscellaneous. The parties acknowledge that the injury that             initiated by Processor, such audit shall be directly relevant to this
    would be sustained by the party disclosing information as a result of           Agreement, and shall be limited in scope to those areas related to the
    the violation of this Section 28 cannot be compensated solely by                provision of Services hereunder. Merchant will assist such auditors as
    money damages, and therefore agrees that the disclosing party shall             may be reasonably necessary for them to complete their audit. In the
    be entitled to seek injunctive relief and any other remedies as may be          event that a third-party audit is requested by an Association, and/or
    available at law or in equity in the event of a violation of the provisions     required by the Operating Regulations, Processor may, at its option,
    contained in this Section 28. The restrictions contained in this Section        either retain a third party to perform the audit, or require that Merchant
    28 shall not apply to any information which becomes a matter of public          directly retain a specific third party auditor. If Processor requires that
    knowledge, other than through a violation of this Agreement or other            Merchant directly retain the auditor, Merchant shall arrange immediately
    agreements between the parties.                                                 for such audit to be performed, and will provide Processor and the
        (d) Publicity. Merchant and Processor agree that they will work             Associations with a copy of any final audit report.
    together to issue a mutually agreeable joint press release after the            34. System Requirements and Upgrades. Merchant agrees that the
    execution of this agreement and/or after the conversion of Merchant to          Services shall be provided in accordance with Processor's then current
    Processor's Services. In any event, Merchant acknowledges and                   systems, standards and procedures and that Processor shall not be
    agrees that Processor may make public the execution of this Agreement           required to perform any special programming, to provide any special
    by Merchant and/or any of Merchant's affiliates, and/or the Services that       hardware or software or to implement any other system, program or
    may be or have been provided under the Agreement. Merchant agrees               procedure for Merchant.      Unless otherwise agreed in writing by
    that Processor may include Merchant's name and logo on a list of                Processor, all sales transaction, settlement and other data and

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    information used in connection with the Services shall be provided to            proceeding is filed by or against Merchant under the Bankruptcy Code
    Processor in Processor's then current data formats and by means of               (whether the petition is filed voluntarily and/or involuntarily), it waives
    Processor's then current telecommunications configurations and                   any applicable protection related to the automatic stay provisions of 11
    protocols. Processor may make changes in the Services based upon,                U.S.C. §362 (or any replacement section) and consents to an
    but not limited to, technological developments, legislative or regulatory        appropriate reserve of funds being established between the parties
    changes, or the introduction of new services by Processor. Merchant              pursuant to this Agreement or by Court Order.
    shall comply with all time deadlines, equipment and software                     38. Modification of Agreement.           Except as provided in this
    maintenance and upgrading requirements to the extent required by the             Agreement, this Agreement including any addendum or schedule or
    Associations and/or Operating Regulations . Merchant shall use best              exhibit hereto shall only be modified or amended by an instrument in
    efforts to comply with all other time deadlines, equipment and software          writing signed by Merchant and Processor. Any changes, additions,
    maintenance and upgrading requirements which Processor may                       stipulations or deletions, including lining out, by Merchant, except
    reasonably impose on Merchant from time to time.                                 where indicated by a space to be filled in (e.g., the space for
    35. Title to the Services. Merchant agrees it is acquiring only a                Merchant's name and address), shall not be deemed to be agreed to
    nontransferable, non-exclusive right to use the Services. Processor              or binding upon Processor unless agreed to in writing in the form of an
    shall at all times retain exclusive title to the Services, including without     amendment signed by each party hereto. Merchant agrees that
    limitation, any materials delivered to Merchant hereunder and any                Processor may amend this Agreement upon notice to Merchant if such
    invention, development, product, trade name, trademark, service mark,            amendment is a requirement of applicable law or an Association .
    software program, or derivative thereof, developed in connection with            39. Headings and Construction . The headings used in this
    providing the Services or during the term of this Agreement.                     Agreement are inserted for convenience only and will not affect the
    36. Limited Acceptance.            If so indicated below, Merchant               interpretation of any provision .      Merchant and Processor each
    acknowledges and agrees that it wishes to be a Limited Acceptance                acknowledge that the limitations and exclusions contained in this
    merchant, which means that Merchant has elected to accept only                   Agreement have been the subject of active and complete negotiation
    certain VISA/MasterCard card types as indicated below, or via later              between the parties and represent the parties' voluntary agreement.
    notification . Merchant further acknowledges and agrees that Processor           The parties agree that the terms and conditions of this Agreement shall
    has no obligation other than those expressly provided under the                  not be construed in favor of or against any party by reason of the
    Operating Regulations and applicable law as they may relate to limited           extent to which any party or its professional advisors participated in the
    acceptance and that Processor's obligations do not include policing              preparation of this document.
    card types at the point of sale. As a Limited Acceptance Merchant,
    Merchant will be solely responsible for the implementation of its                41. Authorization.       Each of the parties hereto represents and
    decision for Limited Acceptance. Merchant will be solely responsible             warrants on behalf of itself that it has full power and authority to enter
    for policing, at the point of sale, the card type(s) of transactions it          into this Agreement; that the execution, delivery and performance of this
    submits for processing by Processor. Should Merchant submit a                    Agreement has been duly authorized by all necessary corporate, limited
    transaction for processing for a card type it has indicated it does not          liability company or partnership or other appropriate authorizing actions;
    wish to accept, Processor may process that transaction and Merchant              that the execution, delivery and performance of this Agreement will not
    will pay the applicable fees, charges , and assessments associated with          contravene any applicable by-law, corporate charter, operating
    that transaction. For Merchant's convenience, a general description of           agreement, partnership or joint venture agreement, law, regulation,
    VISA/MasterCard card types are:                                                  order or judgment; that execution, delivery and performance of this
    a.       Consumer Credit - a consumer credit card issued by a U.S.               Agreement will not contravene any provision or constitute a default
    Issuer or a commercial credit card issued by a non-U.S. Issuer; this             under any other agreement, license or contract which such party is
    category does not include VISA or MasterCard branded signature-                  bound; and, that this Agreement is valid and enforceable in accordance
    based debit cards.                                                               with its terms.
    b.       Consumer Debit - a VISA or MasterCard branded signature-                42. Counterparts. This Agreement may be executed and delivered in
    based debit card (including certain stored-value and prepaid cards).             counterparts, each of which shall be deemed an original but all of which
    c.      Commercial - a VISA or MasterCard branded credit card issued             together shall constitute one and the same instrument.
    by a U.S. Issuer that bears the descriptive term "Business Card",
    "Corporate Card", "Purchasing Card", "Fleet Card", or similar                    43. Facsimile and Electronic Signatures. Merchant and Processor
    descriptive term indicated pursuant to the Operating Regulations .               agree that electronic signatures will have the same legal effect as
                                                                                     original (i.e. ink) signatures and that an electronic, scanned, facsimile,
    Only if checked below, Merchant wishes to be a Limited Acceptance                or duplicate copy of any signatures will be deemed an original may be
    Merchant, which means that Merchant will accept only the                         used as evidence of execution .
    VISA/MASTERCARD card types indicated below:
                                                                                     44. Member Bank. The Processor and Member Bank may jointly or
    D VISA Credit Cards                                                              individually assert or exercise any rights or remedies provided to
    □ VISA Debit Cards (signature based)                                             Processor and Member Bank hereunder. Processor and Member
    □ MasterCard Credit
                                                                                     Bank reserve the right to allocate the duties and obligations assigned
                                                                                     hereunder to Processor between themselves , as they deem
    □ MasterCard Debit Cards (signature based)
                                                                                     appropriate in their sole discretion . Member Bank has certain
    37. Security Interest. This Agreement will constitute a security                 obligations to Merchant pursuant to the Operating Regulations. In the
    agreement under the Uniform Commercial Code. Merchant grants to                  event of any conflict between this Agreement and the Operating
    Processor a security interest in all accounts owned or controlled by             Regulations on the subject of Member Bank's obligations, the
    Vantiv at Member Bank that are funded with settlement amounts,                   Operating Regulations shall control. Processor is party to an
    including the Reserve Account, and the proceeds thereof (collectively,           agreement with Member Bank and under such agreement is
    the "Secured Assets"), to secure all of Merchant's obligations under             authorized to provide the services described herein. This Agreement
    this Agreement. With respect to such security interest, Processor will           shall be deemed accepted by Member Bank as of the date the first
    have all rights afforded under the Uniform Commercial Code, any other            transaction is acquired under this Agreement. As of the
    applicable law, and in equity. In addition to the security interest in the       commencement of this Agreement, Member Bank shall be Fifth Third
    Secured Assets, Processor shall have a contractual right of setoff               Bank, an Ohio banking corporation, located in Cincinnati, OH . The
    against the Secured Assets.                                                      Member Bank may delegate certain or all of its duties to an affiliate of
                                                                                     the Member Bank at any time, without notice to Merchant. The
    Every such right of setoff shall be deemed to have been exercised
                                                                                     Member Bank may be changed , and its rights and obligations assigned
    immediately upon the occurrence of an Event of Default hereunder
                                                                                     to another party by Processor at any time without notice to Merchant.
    without any action by Processor or notation in the Processor's records,
    although Processor may enter such set off on its books and records at
    a later time. Merchant warrants and represents that no other person or
    entity has a security interest in the Secured Assets. If a bankruptcy

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       IN WITNESS WHEREOF, the parties hereto have caused this
       Agreement to be executed by their authorized officers as of the dates
       set forth below.
       VANTIV, LLC                                     DocuSigned by:

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       MERCHANT LEGAL NAME: PIRCH, INC

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     vanti\l                                        PIRCH, INC.                                        MERCHANT PRICE SCHEDULE TO
                                                                                                THE BANK CARD MERCHANT AGREEMENT
    This Merchant Price Schedule shall be a schedule ("Schedule") to the Bank Card Merchant Agreement between Processor, Member Bank and
    Merchant. As used herein, the term "Agreement" shall have the meaning ascribed to it in the Bank Card Merchant Agreement. Except for the terms
    defined herein, the capitalized terms herein shall have the same meaning as ascribed to them in the Agreement. In the event of a conflict between the
    Agreement and this Schedule, this Schedule shall control.

    I.     PROCESSOR TRANSACTION AND OTHER FEES:                                        (iv) All Other Transactions                                          Quoted

    The fees applicable to Merchant shall be assessed by Processor to                   B.     Other Fees:
    Merchant on a daily, monthly and/or other periodic basis at the sole
    reasonable discretion of Processor and which Processor may change                   (i)    Chargeback/Adjustment
    from time to time upon notice to Merchant in accordance with                               Processing                  !@t"l'@!j'ber chargeback/adjustment *
    Processor's Service Delivery Process. As of the execution of this
    Agreement, Merchant will receive one invoice from Processor and be                         *Does not include any fees related to chargebacks/ adjustments
    treated as one entity for all of Merchant's locations combined, except                     which may be imposed by third parties such as the Associations.
    for interchange and certain related fees, interchange adjustments and                      This fee applies to prearbitration transactions, compliance cases,
    certain other third party fees which Processor will assess to Merchant                     and any other transaction that is similar in nature to a
    on a location by location basis. However, Merchant acknowledges and                        chargeback/adjustment.
    agrees that Processor, at its sole option and which Processor may
    change from time to time upon notice to Merchant in accordance with                 (ii)   Direct, powered by Vantiv
    Processor's Service Delivery Process, may assess some or all of the                        Access Fee                          !i/S'l'!1!1'1month/User ID used *
    fees in the Agreement to Merchant on a consolidated basis (i .e., all
    Merchant locations shall be combined and treated as a single entity)                       * Each User ID that is used in a given month, as determined by
    and/or some or all of the fees in the Agreement to Merchant on a                           Processor's records of User IDs which have logged onto Direct,
    location by location basis.                                                                powered by Vantiv during the month, will result in a separate
                                                                                               access fee charge. Processor's Direct, powered by Vantiv
    A.     Transaction Fees:
                                                                                               service is subject to change upon notice in accordance with
                                                                                               Processor's Service Delivery Process and will be provided in
    Transactions shall include but not be limited to sales drafts,                             accordance with, and subject to the terms of, the Agreement and
    authorizations, credits, account verifications, other point of sale of                     Processor's Service Delivery Process.
    transactions, etc. A sales draft submitted with an authorization is one
    transaction .                                                                       (iii) iQ
                                                                                              Access Fee                                          No Charge *
    (i)    VISA/MasterCard/Discover Transactions                                              * Provides access to reports, merchant summary, transaction
                                                                                        research and basic alerts
           D     VISA/MasterCard/Discover (including NOVUS
                 Network)/PayPal Transactions      $_ _ _ per transaction               (iv) Processor Voice Transaction Surcharge            lill'transaction *

                 All-In Basis Point pricing                                                    *includes operator assisted voice authorizations, Processor's
           !XI   VISA/MasterCard/Discover ( i n·c. l,-
                                                     OVUS                                      automated digital voice response system ("DVRS"), and other
                 Network)/PayPal Transactions         % of the gross sales                     authorization systems used by Merchant and supported by
                                               amount of each transaction*                     Processor in accordance with its Service Delivery Process.
                 All-In Transaction pricing                                                    Excludes gift card voice transactions.
           D     VISA/MasterCard/Discover (including NOVUS                                                                                 Waived
                 Network)/PayPal Transactions     $_ _ _ per transaction*               (v)    Annual Fee

                 * includes MC Settlement Fee, MC Network Access and                    (vi) Wire Transfer                                                   Quoted
                 Brand Usage Fee, Visa Base II Fee and Visa Acquirer                                                                            Waived
                 Processing Fee as set forth in Exhibit A. Communication fee            (vii) Monthly Service Fee
                 is Included in the All-In Transaction pricing or All-In Basis
                 Point Transaction pricing so long as Merchant uses                     (viii) Compliance and Regulatory Fee                  liliiliiii/M ID/Year
                 Processor's standard dial or SSL processing methodology;                                                        (capped at 19fl•Bi!fl'/'chain)
                 otherwise, Processor's standard fees and charges shall                                                                   Waived
                 apply.                                                                 (ix) (Unbundled Signature Debit) Routing Fee

           (Transactions processed on any Diner's Club card presenting the              (x)    Tiered Enhanced Surcharge Fee
           MasterCard logo will be processed and billed as a MasterCard                        See Tiered Enhanced Surcharge schedules for applied rates
           transaction . In the event that Merchant's average ticket amount is
           greater than that provided by Merchant to Processor, or                             Rate (Select One): If no box checked, default is All Rates.
           reasonably anticipated by Processor at the commencement of this                     D All Rates (Base/Downgrade) Apply
           Agreement, or in the event that Merchant's processing method                        D Downgrade Rate Only Apply
           differs materially from that reasonably anticipated by Processor at                 Iii No Rates Apply
           the commencement of this Agreement, Processor reserves the
           right to increase the per transaction fee assessed to Merchant                      Voucher Code (Select One): If no box checked, default is
           pursuant to this Section. VISA and MasterCard Services shall                                                   Voucher Code 99.
           each be additionally subject to a $15.00 per month minimum per                      □ 00 □ 01 □ 02 □ 04 □ 05 □ 06 Iii 07 □ 10 □ 11 □ 12
           MID. Processor and Merchant acknowledge and agree the Visa                          □ 13 □ 14 □ 15 □ 17 □ 18 □ 19 □ 25 □ 27
           Fixed Acquirer Network Fee ("FANF") and the MasterCard
           Acquirer Fee will be billed as direct pass thru to the Merchant.                    For certain non-qualifying transactions, Processor assesses a
                                                                                               surcharge of a certain percent of the transaction amount ("Non-
    (ii)   American Express/Diners Club/                                                       Qualified Surcharge Fee" and/or "Routing Fee") as set forth in the
           Carte Blanche Transactions               $ - per transaction                        Agreement on all sales transactions that do not qualify at
                                                                                               Merchant's base rate (e.g., an international, commercial, or
    (iii) PIN Debit Transactions                    $_ _ _ per transaction                     rewards transaction, etc.) (such transactions are referred to
                                                                                               herein as "Non-Qualified Transactions"). Processor reserves the

                                                      Merchant Price Schedule to the Bank Card Merchant Agreement
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         right and may amend the Non-Qualified Surcharge Fee amount                           Data Security Standard (PA DSS), the PCI DSS and/or Visa's
         from time to time upon notice to Merchant.                                           Payment Application Best Practices (PABP). Merchant hereby
                                                                                              ensures that it has reviewed and confirmed that such
    (xi) PCI Non-Validation Fee                       $illllllll,1 ID/month                   application(s) comply with the PABP, PA DSS and the PCI DSS.
                                              (Capped at $iiichain/month)
                                                                                      (i)     Have you suffered a system intrusion or "hack" that resulted in the
         If Processor reasonably believes Merchant is not fully compliant                     compromise of account data?               D Yes D No
         with the Processor Rules, Operating Regulations (including but
         not limited to the Payment Card Industry Data Security Standard,             (ii)    Iii Payment Gateway (e.g. Authorize.net, etc.)
         the VISA Cardholder Information Security Program, the
         MasterCard Site Data Protection Program, and any other program                       Name of Service Provider/Gateway       AUTHORIZE.NET
         or requirement that may be published and/or mandated by the
         Associations), or any Laws, or in the event Merchant fails to prove          (iii)   D Other (please list):
         such compliance upon request from Processor, Processor
         reserves the right to charge Merchant a reasonable fee until                 (iv) Merchant Compliance Contact Information
         Merchant proves compliance with the Bank Rules, Operating
                                                                                              Name
         Regulations, and Laws, and Merchant shall pay such amount to
         Processor. This fee will be in addition to any other amounts due                     Phone Number
         under the Agreement, including but not limited to all fines, fees,
                                                                                              Email Address (if preferred form of communication)
         penalties, loss allocations, assessments, registration expenses,
         certification expenses, and other amounts assessed by third
         parties.
                                                                                      (v)     Integrated Software Solution (e.g. Micros, Aloha etc.)
    (xii) EMV Non-Enabled Fee
                                                                                              If not using a payment application (i.e. software) to process
         Low Risk                          % of the gross sales per month                     transactions, please mark "N/A" in the Payment Application
         Moderate Risk                     % of the gross sales per month                     Vendor and Payment Application Name section. Please provide
         High Risk                         % of the gross sales per month                     all possible information regarding terminals and Integrated
                                                                                              Software Solutions. Provide a separate document, if necessary.
         The EMV Non-Enabled Fee is effective beginning October 2015 if
         Merchant does not have EMV enabled equipment and/or                                       Payment Application Vendor       Payment Application Name
         software. The EMV Non-Enabled Fee is determined based on the                         1.
         chargeback liability risk of your MCC as determined by us.
         Transactions will be evaluated monthly at the MID level and
                                                                                              2.
         assessed at the chain level when applicable. This fee is based on
         the gross sales amount of each card present transaction.                                  Version No.    Last Upgrade      Type of Connection
                                                                                                                                     (e.g. Dial-up, Internet, etc.)
                                                                                              1.
    (xiii) Breach Assist
                                                                                              2.
         In the event Merchant is enrolled in the Breach Assist Program
         ('BAP") offered by Processor, the indemnification required by                             Quantity            PmtCode            Unit Code
         Merchant under this Agreement will only be reduced by amounts                        1.
         actually recovered by Processor in connection with the BAP and                       2.
         only to the extent that such amounts are specifically related to a
         data breach involving solely Merchant. The BAP is not applicable             D.      Equipment
         to Level 1 merchants. The limited indemnity waiver provided by
         the BAP may not cover all the costs associated with a data breach                    Pricing for Equipment is for first equipment order only.
         and the specific terms and conditions of the BAP are available for                   Thereafter, any Equipment ordered by Merchant will be charged
         Merchant to review at www.RoyalGroupServices.com/FifthThird or                       at Processor's standard rates unless otherwise indicated via an
         by contacting a customer service representative at 1-800-393-                        amendment.
         1345.
                                                                                      (i)     Environment
         1 -10 MIDs                                          'I MID/ Month
         11 -20 MIDs                                          /MID/Month              (ii)    Front-end(s)
         21+ MIDs                                              hain/ Month
                                                                                      (iii) Terminals, Printers
    _ _ _ Initial herein to opt-out of the Breach Assist Program. As
          such, I understand I will not be eligible to receive a waiver of                         Model                            Connection Type
          any portion of my indemnity obligations to Processor under
          the Agreement in the case of a suspected or actual data
          breach at any of my merchant location(s), including waiver of                       1.
          any obligation to pay expenses, fines, assessments, or                              2.
          penalties in the event of such suspected or actual breach of
          my merchant location(s). By opting-out, Merchant will be                            3.
          assessed a PCI Compliance Support fee of $50 per location
          per year capped at $150 per Chain per year                                               Quantity            Pmt Code             Unit Price
                                                                                              1.
                                                                                              2.
                                                                                              3.
    C.   Payment Application Data
                                                                                      E.      Regional and National POS Networks
         Notwithstanding merchant's disclosure of the information
         requested herein, Processor cannot and does not undertake any                Merchant agrees to pay Processor a network access fee of i11ii1iii1 per
         responsibility to advise, direct or otherwise validate merchant's
                                                                                      month per Other Network for the following networks. The Processor
         payment application as compliant with the Payment Application
                                                    Merchant Price Schedule to the Bank Card Merchant Agreement
                                                                             Page 2 of4
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    network access fee is in addition to all other applicable fees in this                   Transactions include, but are not limited to, authorizations,
    Schedule and in addition to the fees assessed by the applicable                          settlement transactions and credits.
    networks.
                                                                                       D     Skipjack Platinum Services
    Accel/Exchange Network               Armed Forces Financial ("AFFN")                     Set Up Fee                                               $      /MID
    Alaska Option Network                Credit Union 24                                     Monthly Support Fee                              $       /Month/MID
    Fleet One                            Interlink                                           Transaction Fee                                 $        /transaction
    Jeanie                               Maestro                                             Transactions include, but are not limited to, authorizations,
    Member Access                        NetWorks ("NETS")                                   settlement transactions and credits
    NYCE                                 Pulse
    Shazam                               STAR                                          D     3Delta EC-Batch Services (Includes EC-Zone at no additional
    Voyager                              Wright Express                                      cost)
    Electronic Benefits Program          Other Networks                                      Set Up Fee                                              $_ _/MID
    ("EBT")                                                                                  Authorization Fee                               $_ _/Authorization
                                                                                             Monthly Support Fee (Includes up to 5 user Ids)
    II.    TELECOMMUNICATION FEES                                                            Plan A:
                                                                                               0 - 12,000 transactions/year/MID                $     /Month/MID
    Merchant agrees to pay Processor all then current telecommunications                                                                  plus $     /transaction
    fees and assessments as imposed by telecommunications services                              12,001+ transactions/year/MID                As Quoted by 3Delta
    providers, Processor, Member Bank, VISA, MasterCard, Discover,                             A "transaction" is defined for billing purposes as an
    and/or Other Networks in connection with the Services Merchant                             authorization attempt, forced transaction or a credit/return.
    receives hereunder whether incurred by Merchant, Processor, Member
    Bank, their affiliates and/or agents. The following telecommunications                   EC-Batch Integration Fee* (one time only)             $_ _/MID
    fees shall be paid by Merchant but are subject to change upon notice                     EC-Batch Integration Support includes one hour of consultation
    to Merchant in accordance with Processor's Service Delivery Process,                     with a 3Delta Systems integration specialist and a test account on
    based on increases and/or surcharges by telecommunications service                       3Delta Systems test environment. Additional charges may accrue
    providers, Processor, Member Bank, VISA, MasterCard, Discover,                           if a Merchant desires consultative and integration services. These
    and/or Other Networks and such changes shall be automatically                            fees will be quoted based on discussions between 3Delta and
    effective and immediately payable when assessed by Processor.                            merchant.
    Unless otherwise indicated herein or in the Agreement, the following
    telecommunications fees are in addition to transaction fees, and                   D     3Delta EC-Linx Services (Includes EC-Zone at no additional cost)
    interchange and other third party reimbursements.                                        Set Up Fee                                              $_ _/MID
                                                                                             Authorization Fee                               $_ _/Authorization
    A.     Merchant Host to Processor Host Direct Connect Port Fees:                         Monthly Support Fee (Includes up to 5 user Ids)
                                                                                               Plan A:
    (i)    Monthly Port Fees                                         Quoted                    0-12,000 transactions/year/MID                  $     /Month/MID
                                                                                                                                          Plus $     /transaction
    (ii)   Device Fee                             11111 terminal / month •                     12,001+ transactions/year/MID                 As Quoted By 3Delta
           *Merchant POS Terminals Directly Connected to Processor Host                        A "transaction" is defined for billing purposes as an
                                                                                               authorization attempt, forced transaction or a credit/return.
    (iii) Diner's Club/American Express/
          Carte Blanche/ Check Guarantee                                                     EC-Linx Integration Fee* (one time only)               $_ _/MID
          Transactions Surcharge Fee                                 Waived                  EC-Linx Integration Support includes one hour of consultation
                                                                                             with a 3Delta Systems integration specialist and a test account on
    (iv) Discover Transactions Surcharge Fee                         Waived                  3Delta Systems test environment. Additional charges may accrue
                                                                                             if a Merchant desires consultative and integration services. These
    (v)    Other                                                     Quoted                  fees will be quoted based on discussions between 3Delta and
                                                                                             Merchant.
    Ill.   NETWORK FEES
                                                                                       D     3Delta EC-Zone Services
    Merchant agrees to pay Processor all then current fees, fines,                           Set Up Fee                                              $_ _/MID
    assessments, loss allocations, and penalties as imposed by the                           Authorization Fee                               $_ _/Authorization
    Associations, including interchange fees, whether incurred by                            Monthly Support Fee (Includes up to 5 user Ids)
    Merchant, Processor, Member Bank, its affiliates and/or agents.                          Plan A:
    Processor may allocate any such amounts in a manner as it deems                            0 -12,000 transactions/year/MID                 $     /Month/MID
    advisable in its sole reasonable discretion. The interchange and other                                                                plus $     /transaction
    fees as set forth in this Agreement, on the respective Network website                      12,001+ transactions/year/MID                As Quoted by 3Delta
    , or, with respect to interchange, as otherwise made available to                          A "transaction" is defined for billing purposes as an
    Merchant, are, or were, in effect but are subject to change and to                         authorization attempt, forced transaction or a credit/return.
    surcharges by the applicable Association with such changes and/or
    surcharges effective as determined by such organizations. Each sales               D     Other 3Delta Fees (regardless of product used)
    transaction is evaluated separately by the applicable Association to                     EC-Zone Item Master Database Load                      $     /Use
    determine the qualifying interchange and other fees. If for any reason                   Additional Pkg of 5 User IDs                    $_ _/Month/MID
    any sales transaction submitted on behalf of the Merchant fails to                       Individualized Training                               $_ _/Hour
    qualify for the lowest interchange or other fees, Processor at its option                Individualized Training is training by a 3DSI employee for a
    may charge Merchant for any incremental fees or expenses. Sales                          specific merchant beyond the free online training services.
    transactions occurring at Merchant's locations outside the United
    States (when supported by Processor at its sole discretion) are subject            D     Slim CD Services
    to additional charges which shall be assessed to Merchant which shall                    Setup Fee                                      $      /Site ID
    be assessed to Merchant as imposed by the applicable Association.                        Slim CD Enterprise Monthly Support Fee         $      /Site ID
                                                                                             Slim CD Pro Monthly Support Fee                $_ _/Site ID
    IV.    OPTIONAL SERVICES                                                                 Slim CD Transaction Fee As Quoted or Processor's Standard Fee
                                                                                             WEB Developers Kit                                  $_ _/Kit
    D      Skipjack Basic Services                                                           POS Developers Kit                                  $_ _/Kit
           Set Up Fee                                        $     /MID                      Secure Hosted Page Setup Fee                          $_ _
           Monthly Support Fee                           $_ _/Month/MID
           Transaction Fee                              $_ _/transaction               D     Cardinal Commerce
                                                     Merchant Price Schedule to the Bank Card Merchant Agreement
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                eCommerce Plus Setup Fee                           $_ _
                eCommerce Plus Monthly Fee                   $      /month
                eCommerce Plus Per Credit Transaction Fee $ _ /transaction
                eCommerce Plus Per Alternative Payment Fee $_ _/transaction

        D       Trust Commerce
                Standard Set-Up Fee                                                                $_ _/MID
                Standard Monthly Fee                                                         $_ _/Month/MID
                Standard Transaction Fee                                                     $_ _/transaction
                Enterprise Set-Up Fee                                                            $_ _ /Chain
                Enterprise Monthly Fee                                                      $_ _/Month/Chain
                Enterprise Transaction Fee                                                   $_ _/transaction
                Annual User ID Support Fee                                                      $_ _/User ID
                Annual Payment Portal Maintenance Fee                                             $_ _/MID
                CreditGuard Transaction Fee                                                  $ _ _/transaction

       D        Payflow Link
                Link Transaction Fee                                                           $_ _/transaction
                Link Recurring Billing Monthly Fee                                             $_ _/Month/MID

       D        Payflow Pro
                Pro Set-up Fee                                                                      $_ _/MID
                Pro Monthly Service Fee                                                        $ _ _/Month/MID
                Pro Transaction Fee                                                            $_ _/transaction
                Pro Recurring Billing Monthly Fee                                              $_ _/Month/MID

       D        Payflow Advanced Fraud Protection
                Protection Monthly Fee                                                        $_ _/Month/MID
                Transaction Fee                                                               $ _ _/transaction

       □       Payflow Buyer Authentication
               Monthly Fee                                                                    $_ _/Month/MID
               Transaction Fee                                                                $   /transaction

      Other Services (any other service not listed herein)                                                   As Quoted

       V.      OTHER SERVICES                                               Per the Agreement or Quoted

      In the event Merchant rents or purchases any equipment from
      Processor in connection with the Services, Merchant agrees to abide
      by all the terms and conditions of Processor's standard Addendum B
      which is incorporated herein. Merchant acknowledges that Processor
      rounds interchange and other fees and amounts in accordance with its
      Service Delivery Process. The parties acknowledge that the Bank Card
      Merchant Agreement between them, as supplemented by this and
      other schedules, Addenda and/or Exhibits, set forth the complete and
      exclusive agreement between the parties with respect to the Services
      provided.




      VANTIV, LLC                                                       ~ '-"'"~°''
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      Name:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                  11/9/2015 I 11:32 ET
      Date:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      MERCHANTLEo/tL NAME:                                       PIRCH, INC.
      By:                     Llld tld
      Name:_ _ _D
                _A_V_
                    ID_G_._
                          R_O_B_S_O_N
                                    _ _ _ _ _ __
      Title:_ __                _ _ _ _C_
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                                                                                      Merchant Price Schedule to the Bank Card Merchant Agreement
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                                                                                                                                 Chain: _ _ _ __
                                                        SPECIAL AMENDMENT TO THE AGREEMENT
                                                                 OMNISHIELD ASSURE

    This Special Amendment to the Agreement is made among Processor and                                     PIRCH, INC.
    ("Merchant"). "Agreement" shall mean the Bank Card Merchant Agreement or Merchant Processing Agreement or other contract document for the
    Services provided by Processor to Merchant as previously executed by Merchant and any corresponding Schedules, Addenda, Exhibits and
    Amendments thereto. All other terms and conditions of the Agreement shall remain in full force and effect unless explicitly stated herein. All defined
    terms shall have the meanings set forth in the Agreement unless otherwise specified herein. The Agreement shall be amended in the following
    respects.

    A.   The Agreement shall be amended as follows:

         1.   Merchant agrees to participate in one of the OmniShield Assure security bundles noted below. The OmniShield Assure security bundles
              include security services that are intended to address some of the risks associated with accepting, transporting and storing cardholder data
              within and throughout the Merchant's environment in accordance with Processor's standards, which Processor may change from time to time
              in its sole discretion. Processor may utilize and/or license technology from third parties as part of providing security services. Merchant
              agrees that it shall not acquire any interest in (ownership, intellectual property or otherwise) any of the third party provider software used by
              Processor to provide the security services. Merchant shall not, and shall have no right to, own, copy, distribute, sub-lease, sub-license, assign
              or otherwise transfer any portion of such third party provider software used to provide the security services or any materials provided by
              Processor or to modify, decompile, or reverse engineer any such software, materials, or the Services. The provision of and use of any of the
              security services shall not limit either party's duties and obligations contained in the Agreement. The benefit of using the security services
              depends on the Merchant's environment, the combination of services chosen by the Merchant, and how the services are implemented within
              the Merchant's environment. Merchant bears all risk and responsibility for conducting Merchant's own due diligence regarding the fitness of
              security services for a particular purpose and ensuring that the solution is implemented in alignment with security standards, applicable law,
              and Processor's best practices and guidelines. Merchant acknowledges that access to certain security services may require the use of or
              upgrading of certain terminals and/or equipment or changes to transaction processing message specifications at Merchant's sole expense.
              Not all equipment supports security services. Processor does not warrant or guaranty that use of the security services, in itself, will: (i) result
              in Merchant's compliance with Operating Regulations and/or applicable law; (ii) prevent any unauthorized breaches of Merchant's terminals,
              systems or facilities; or (iii) be uninterrupted or error-free.

         Merchants with equipment and / or software that are enabled for EMV and card data encryption must participate in one of the following
         security services bundles:

              D    OmniShield Assure                                                   $-MID/month (capped at 20 MIDs or-month)

                             OmniShield Assure bundle includes Processor's Breach Assist, PCI Assist, Card Data Encryption, Tokenization,
                             and EMV Support services. For Merchants participating in OmniShield Assure, the PCI Non-Validation Fee will be
                             waived. For Merchants participating in a Vantiv Select Package as noted on the Price Schedule, the OmniShield
                             Assure Fee will be waived.


              D    OmniShield Assure Basic                                             $"llililiMID/month (capped at 20 MIDs or liilinonth)

                             OmniShield Assure Basic bundle includes Processor's PCI Assist, Card Data Encryption, and EMV Support
                             services. In addition to the OmniShield Assure Basic monthly fee, Merchant may also be assessed the PCI Non-
                             Validation Fee.

         Merchants with equipment and / or software that are not enabled for EMV and card data encryption must participate in the
         following bundle:

                      Breach Assist Plus                                               $-MID/month (capped at 20 MIDs or-month)


                             Breach Assist Plus bundle includes Processor's Breach Assist, PCI Assist, and Tokenization services. In addition
                             to the Breach Assist Plus monthly fee, Merchant may also be assessed the PCI Non-Validation Fee and the EMV
                             Non-Enabled Fee.

              Regardless of choices identified herein, the Merchant's invoice will automatically reflect the security services bundle that best
              aligns with the Merchant's actual environment. For example, selecting OmniShield Assure Basic, but failing to implement EMV
              and card data encryption enabled equipment would result in the Merchant receiving and being invoiced for the Breach Assist
              Plus security services bundle.

              Additionally, if the Merchant modifies their hardware post contract execution, the Merchant will automatically receive the security
              services bundle that reflects the Merchant's then-current environment. For example, if the Merchant starts with the Breach Assist
              Plus security services bundle and later updates its equipment to include EMV and card data encryption, it would automatically be
              re-aligned with the OmniShield Assure security services bundle.


         2.   Definitions.

              a.   Breach Assist - In the event Merchant is enrolled in the Breach Assist Program ("BAP") offered by Processor through the Breach Assist
                   Plus or OmniShield Assure bundles provided herein, the indemnification required by Merchant under this Agreement will only be reduced
                   by amounts up to the limits set by the service provider that are actually recovered by Processor in connection with the BAP and only to
                   the extent that such amounts are specifically related to a data breach involving solely Merchant. The limited indemnity waiver provided
                   by the BAP will not cover all the costs associated with a data breach. The specific terms and conditions of the BAP are available for
                   Merchant to review at www.RoyalGroupServices.com/FifthThird or by contacting a customer service representative at 1-800-393-1345.

              b.   PCI Assist - PCI Assist is a set of streamlined online tools to help merchants achieve, maintain and track PCI compliance. PCI Assist
                   helps clients review PCI DSS compliance requirements and complete their Self Assessment Questionnaire (SAQ) and, as
                   recommended, conduct periodic vulnerability scans of their network.

                                                            Special Amendment - OmniShield Assure
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                   c.   Card Data Encryption - The Card Data Encryption Service is a two part service designed to: (i) encrypt (make unreadable) card data
                        information at the origin or the payment transaction, which is a PCI-PTS certified Secure Cryptographic Device (SCD) that has licensed
                        Card Data Encryption functionality that aligns with the Card Data Encryption technologies hos ted by the Processor; and, (11) decrypt ca rd
                        data information at the destination or the transaction, which are the Processor's data systems. Merchant acknowledges and agrees that
                        SCD Card Data Encryption functionality is required and may require Merchant to engage an appropriate third party provider or authorized
                        reseller and that said licensed functionality may Incur fees in addition to those set forth herein. Card data information protected by the
                        Card Data Encryption Service may include Track 1 or Track 2 data (Magnetic Stripe Data obtained through a magnetic card swipe read)
                        or PAN Data (Manually Entered Personal Account Number ("card") data) as appropriate to the type of transaction processed on the
                        SCD. The SCD functionality supporting the Card Data Encryption Service Is designed to securely store or generate encryption keys
                        which are used In conjunction with the Card Data Encryption functionality to encrypt card data at the moment that the card data Is
                        captured by the SCD. The Card Data Encryption Service applies only to transactions tha t were encrypted by the SCD and sent from the
                        terminal to Processor's authorization and settlement systems pursuant to the Agreement. Supported transactions include, but may not
                        be limited to, those associated with credit (signature), debit (signature) and debit (PIN). Merchant acknowledges that provision of Card
                        Data Encryption services to Me-rchant is subject to the availability of the licensed encryption software from the applicable third party
                        provider and Merchant's compliance with the terms of this amendment and the Agreement.

                  d.    Tokenlzatlon - Tokenlzatlon is a service in which cardholder PAN data. once received by the Processor, is replaced with a surrogate
                        ("Token") value. Deliverables of the Tokenizatlon service include; (1) the creation of tokens and (2) the recognition and use of a
                        Processor issued pre-existing token to support all post authorization transactions with the Processor, which includes initiating a new
                        authorization with a token value. Data necessary to convert tokens back to Ca rdholder data will be maintained In Processor's systems.
                        Merchant access to the Tokenlzation service requires integrating systems to certify token services using Processor's appropriate
                        message specification. Message specifications are limited to those that exist In Processor's current Service offering. The Parties agree
                        that the scope of the Tokenizalion service does not include the certification or systematic configuration of third parties or firmware
                        licensing as selected by the Merchant to support Tokenlzallon services. For the purposes of this Amendment, Merchant will be provided
                        access to Standard Tokenization services with the OmnlShleld Assure and Breach Assisi Plus bundles. Non-Standard, GUI and Batch
                        Tokenization are separate and unique service offerings and respective fees will be quoted to merchant for the use of each service.

                             "Standard Tokenization" is provided on a per transaction basis in-line with each authorization request
                             "Non-Standard Tokenizatloin" is provided as separate ' non-authorization· message to the Processor that results In a token being
                             generated and returned outside of a purchase transaction
                             "Graphical User Interface (GUI) Tokenization" is provided for merchant operations personnel with appropriate credentials to convert
                             or revert card values and tokens via Processor provided product lnterface(s).
                             "Batch Tokenlzatlon" Is provided as a file based service to support the mass conversion of any existing store of cardholder data,
                             and shall mean the process of receiving a file that includes multiple card values, performing the tokenization process for each card
                             value and returning a response file that includes the corresponding token value.

                        At the conclusion of the contracted term for Tokenization services, whether through the OmniShleld Assure bundle. Breach Assist Plus
                        bundle or otherwise, Merchant will have 90 days to request, via written request to Processor, a Batch De-Tokenization of the merchant's
                        token store, located within the Merchant's systems. For purposes of this Amendment, Batch De-Tokenlzalion shall mean the process of
                        receiving a file that includes multiple token values, performing the de-tokenization process for each token value and returning a response
                        file that Includes the corresponding card value. After 90 days. Processor will no longer be responsible for maintaining the data necessary
                        to De-Tokenize Merchant's token store or be able to guarantee availability of data. Upon mutual agreement, Processor may offer the
                        Merchant De-Tokenlzatlon Data Management Services under separate agreement to support the token store after the termination of the
                        current Agreement supporting Tokenization services.

                  e.    EMV Support - EMV stands for Europay, MasterCard, and Visa and Is a set of global standards for credit, debit and contactless card
                        payments. EMV chip cards help prevent in-store fraud and are nearly impossible to counterfeit. Starting October 1, 2015 merchants who
                        have not made the Investment in chip-enabled technology may be held liable for card-present fraud. EMV acceptance requires an EMV
                        enabled standalone terminal or POS system. Vantiv is enabled to process in-store EMV transactions to help reduce fraud liability.




       Except as otherwise provided In this Amendment, the terms of the Agreement are hereby ratified and affirmed and shall remain In full force and effect.
       This Amendment shall have no force or effect unless and until countersigned by Processor.

                                                                                          PIRCH, INC.
    FOR VANTIV, LLC                                                                       MERCHANT LEGAL NAME

    By:                                                                                   By:       ;jJJ         ilL_
    Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _                                      Name: DAVI D G. ROBSON

    Title:              Di r ector contracts mgmt                                        Title:   CFO

    Date:
                        11/ 9/ 2015 I 11:55 ET                                            Date:




                                                                Special Amendment - OmnlShleld Assure
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                                        EXHIBITB




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                                                                           AMENDMENT NO. 1 TO THE
                                                                       BANK CARD MERCHANT AGREEMENT

      This Amendment No. 1 (the "Amendment") to the Bank Card Merchant Agreement ("Agreement") is made among WORLDPAY, LLC ("Processor"),
      Member Bank and PIRCH, INC. ("Merchant"). The Agreement shall be amended in the following respects and the terms of the Agreement shall govern
      this Amendment. Any capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Agreement. The Agreement shall
      be amended in the following respects and shall become effective upon the first day of the calendar month following execution by the parties hereto
      ("Effective Date").

      I.     Processor and Merchant acknowledge and agree that the Agreement shall automatically renew for a period of three (3) years from the Effective
             Date ("Renewal Term"), and thereafter the Agreement shall automatically renew for periods equal to 1 (one) year each.

      I.     Processor agrees to freeze the Processor per transaction fees in Section I.A of the Merchant Price Schedule to the Agreement currently being
             assessed to Merchant for the Renewal Term. The foregoing shall not be precluded to include any third party assessments and/or fees.




      Except as otherwise provided in this Amendment, the terms of the Agreement are hereby ratified and affirmed and shall remain in full force and effect.
      This Amendment shall have no force or effect unless and until countersigned by Processor.

           ~i!fff(!:~y:                                                                                   WORLDPAY, LLC
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           ~ 523043E ...
                                                                                                          Signature
                                                                                                                              ~ ~3:=D:::~ V     ~
      Me~Kaltenbach
                                                                                                                           Alison A.    Vieth
      Printed Name                                                                                        Printed Name
      CFO                                                                                                                    Corporate Counsel
      Title                                                                                               Title
      7/27/2023                                                                                                           10-Aug-2023   I 12:29 PM PDT
      Date                                                                                                Date




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                                        EXHIBIT C




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             From:              Mekall Kaltenbach
             To:                Simon. Steve CWPl: Perazzone. Kyle {WP}: Steve Smith
             Cc:                Kuerzdoerfer. usa {WP): Usie, Roland {WP): Hackett. Shannon {WP}
             Subject:           RE: Pirch/WP - Termination Notice
             Date:              Tuesday, March 26, 2024 1:42:43 PM
             Attachments:       iroaaeoo1.onq
                                iroaaeoo2 pnq
                                iroage003.pnq
                                iroage004 pnq
                                Public facing statement- c!ean.docx


            Hi Steve,


            I currently do not have any communication I can provide other than the attached public
            announcement. I will let you know when I have further communication I can provide.


            Thanks
            Mekall



            From: Simon, Steve (WP) <Steve.Simon@worldpay.com>
            Sent: Tuesday, March 26, 2024 7:58 AM
            To: Perazzone, Kyle (WP) <Kyle.Perazzone@worldpay.com>; Steve Smith <steve .smith@pirch .com>;
            Mekall Kaltenbach <mekall.kaltenbach@pirch .com>
            Cc: Kuerzdoerfer, Lisa (WP) <Lisa.Kuerzdoerfer@worldpay.com>; Lisle, Roland (WP)
            <Roland.Lisle@worldpay.com>; Hackett, Shannon (WP) <Shannon.Hackett@worldpay.com>
            Subject: RE : Pirch/WP - Termination Notice
            Importance: High



            I   ~ome people who received this message don't often get email from steve.simon@worldpay.com. Learn why this is
                nuportant
            Steve and Mekall, it is imperative that we speak with you today. We have sent several emails and
            tried to call Mekall several times as well and have not received a reply.


            Regards,


            Steve




            From: Perazzone, Kyle (WP) <Ky!e.Perazzone@worldpay.com >
            Sent: Friday, March 22, 2024 10:56 AM
            To: Steve Smith <steve.smith@pirch.com>; Mekall Kaltenbach <meka!l.ka!tenbach@pirch.com>
            Cc: Kuerzdoerfer, Lisa (WP) <Usa.Kuerzdoerfer@wor!dpay.com>; Lisle, Roland (WP)
            <Roland.Usle@worldpay.com >; Hackett, Shannon (WP) <Shannon.Hackett@worldpay.com>; Simon,
            Steve (WP) <Steve.Simon@worldpay.com>
            Subject: RE : Pirch/WP - Termination Notice




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            Hello,


            We saw the news that Pirch has paused operations. Chargebacks have spiked, building a substantial
            collections balance owed to Worldpay.


            Please let us know when you are available for a call. We would like to speak with you today.


            Thanks,


            Kyle Perazzone
            Senior Credit Risk Manager
            Credit Risk Management


            T: +1 {678) 587-1035
            E: Kyle.Perazzone@worldpay.com




            From: Perazzone, Kyle {WP)
            Sent: Thursday, March 21, 2024 12:26 PM
            To: 'Steve Smith' <steve.smith@pirch.com >; 'Mekall Kaltenbach' <mekall.kaltenbach@pirch.com>
            Cc: Kuerzdoerfer, Lisa {WP) <Usa.Kuerzdoerfer@worldpay.com>; Lisle, Roland {WP)
            <Roland.Usle@worldpay.com >; Hackett, Shannon {WP) <Shannon.Hackett@worldpay.com>; Simon,
            Steve (WP) <Steve.Sjmon@worldpay.com>
            Subject: RE: Pirch/WP - Termination Notice

            Steve and Mekall,


            I just left a VM for Mekall. Can we please set up a call ASAP?


            Thanks,


            Kyle Perazzone
            Senior Credit Risk Manager
            Credit Risk Management


            T: +1 {678) 587-1035
            E: Kyle.Perazzone@worldpay.com




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            From: Perazzone, Kyle (WP)
            Sent: Thursday, March 14, 2024 3:18 PM
            To: 'Steve Smith' <steve.smith@pirch.com >; 'Mekall Kaltenbach' <mekall.kaltenbach@pirch.com>
            Cc: Kuerzdoerfer, Lisa (WP) <Lisa Kuerzdoerfer@worldpay com >; Lisle, Roland (WP)
            <Roland.Usle@worldpay.com >; Hackett, Shannon (WP) <Shannon.Hackett@worldpay.com>; Simon,
            Steve (WP) <Steve Simon@worldpay com >
            Subject: RE : Pirch/WP - Termination Notice

            Steve and Mekall,


            Thank you for the calls last week and providing the requested follow up information. Please see
            attached for a revised termination notice, extending the previous termination date by 30 days to
            April 6, 2024.


            I recently sent some questions to Mekall related to the timing on cutting over to the new processor
            and the increase in chargebacks from February. If you could get back to us on those questions, it
            would be appreciated .


            Thank you,


            Kyle Perazzone
            Senior Credit Risk Manager
            Credit Risk Management


            T: +1 (678) 587-1035
            E: Kyle.Perazzone@worldpay.com




            From: Perazzone, Kyle
            Sent: Tuesday, February 6, 2024 4:56 PM
            To: Steve Smith <steve.smith@pirch.com>; Mekall Kaltenbach <mekall.kaltenbach@pirch.com>
            Cc: Kuerzdoerfer, Lisa <Usa .Kuerzdoerfer@fjsglobal.com >; Lisle, Roland
            <Roland.Usle@flsglobal.com >; Hackett, Shannon <Shannon.Hackett@fisglobal.com>; Simon, Steve
            <Steve.Simoo@fisglobal.com>; Perazzone, Kyle <Kyle.Perazzone@flsglobal.com >
            Subject: Pirch/WP - Termination Notice

            Steve and Mekall,


            We appreciate your time on the call yesterday. As discussed, please see attached for the 30-day
            termination notice, which includes details on a partial settlement hold that will be implemented next




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            week. After sales are moved to another provider, Pirch must keep the bank account on file open in
            accordance with the agreement so that World pay can debit the account for trailing refund and
            chargeback activity.


            Also as discussed, it would be helpful if you could please provide the following :


                • Monthly financials for October 2023 - January 2024
                • Confirm the amount of inventory reported on the December 31, 2023 balance sheet that is
                  related to orders in which Pirch already received a customer deposit and inventory is being
                   held for the customer
                • A copy of Pirch's backlog with outstanding orders as of December 31, 2023


            Thank you,


            Kyle Perazzone
            Senior Credit Risk Manager
            Credit Risk Management


            T: +1 (678) 587-1035
            E: Kyle,Perazzone@fis~loba!.com

                   [g



            The information contained in this message is proprietary and/or confidential. If you are
            not the intended recipient, please: (i) delete the message and all copies; (ii) do not
            disclose, distribute or use the message in any manner; and (iii) notify the sender
            immediately. In addition, please be aware that any message addressed to our domain is
            subject to archiving and review by persons other than the intended recipient. Thank you.
            Message Encrypted via TLS connection




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                                        EXHIBITD




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           vvorldpay
                                                                                              March 14, 2024

           VIA ELECTRONIC MAIL
           Pirch, Inc.
           9620 Towne Centre Drive
           Suite 100
           San Diego, CA 82121
           Attn: Steve Smith

           Re: Revised Termination Notice

           Dear Mr. Smith,

           Pursuant to Section 13 (iv) of the Bank Card Merchant Agreement ("Agreement") executed by
           and among Merchant and Processor on November 9, 2015, Processor is entitled to terminate
           the Agreement if Processor reasonably believes that there has been a material deterioration in
           Merchant's financial condition.

           Based on the information evaluated to date, Processor believes a material deterioration has
           occurred and accordingly, this letter constitutes formal notice of termination. Merchant shall
           have 30 days following receipt of this notice to transition off Processor's system. Merchant
           must keep the Account open in accordance with Section 19 of the Agreement. Starting on
           February 12th , 2024, Processor will withhold $15,000.00 of daily sales until Merchant is fully
           transitioned off Processor's system as a termination reserve and the reserve will be returned to
           Merchant once the chargeback risk has passed.

           This revised termination notice is served on you by email and by courier post and is deemed
           served on the date the email is sent. This revised termination notice supersedes the previous
           notice that was sent on February 6, 2024. The Agreement will terminate effective April 6, 2024
           (the "Termination Date"). From the Termination Date, no further Transactions are to be handled
           under the terms of the Agreement.


                                                                        Sincerely,



                                                                         /s/ Kyle Perazzone



                                                                         Kyle Perazzone
                                                                         Senior Credit Risk Manager, Worldpay




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